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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS                              AJG2.
                                                                                             8
                                 SAN ANTONIO DIVISION


JARROD STRINGER, NAYELI GOMEZ,                                                                        C
JOHN HARMS, MOVE TEXAS                                                                           fJ
CIVIC FUND, and LEAGUE OF WOMEN
VOTERS OF TEXAS

               Plaintiffs
and                                                         CIVIL NO. SA-20-CV-46-OG

TEXAS DEMOCRATIC PARTY, DCCC,
and DSCC

               Intervenor-Plaintiffs
                                                             CIVIL NO. SA-16-CV-257-OG
                                                                     [Related]

RUTH HUGHS, in her official
capacity as Texas Secretary of State
and STEVEN C. McCRAW, in his official
capacity as Director of the Texas Department
of Public Safety

               Defendants


                      SECOND ORDER GRANTING MOTION
                        FOR PRELIMINARY INJUNCTION

       Pending before the Court is Plaintiffs' Motion for Preliminary Injunction, in which

Intervenor-Plaintiffs have joined. Docket nos. 5-7, 40, 44, 69, 70, 75, 76, 91, 96. Defendants

have responded. Docket nos. 36, 74. On January 28, 2020, the Court held a hearing and offered

both sides the opportunity to present oral argument and live witnesses. Docket nos. 31, 45, 57.

Both sides declined to call live witnesses but did offer evidence by submission and neither side

challenged the admissibility of the evidence. Based on the undisputed facts, the Court granted the



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motion in part, ordered partial injunctive relief, and took the rest under advisement pending

discovery and a review of the record. Stringer v. Pablos, 2020 WL 532937 (W.D. Tex. Jan. 30,

2020); docket no. 46 (the "first order"). On February 2, 2020, Defendants advised the Court that

they had complied with the injunctive relief set forth in the Court's first order. Docket no. 48.

After giving the parties an opportunity to conduct discovery and supplement the record, and upon

further review, the Court finds that the remainder of the request for preliminary injunctive relief

should be granted for the reasons that follow.

                                                     I.

                                          Statement of the case

         This is the second of two related cases concerning Texas's compliance with the National

Voter Registration Act (NVRA) (also known as the "motor voter law"), 52 U.S.C.              §   20501, et.

seq., which was enacted in 1993 under the Elections Clause to make the voter registration

process easier and more convenient, thus increasing voter registration and participation. See 52

U.S.C.   §   20501(b)(1) ("to establish procedures that will increase the number of eligible citizens

who register to vote").1 This Court resolved the first case on the merits, based on largely

uncontested facts, but the Fifth Circuit found that the individual plaintiffs lacked standing and

never reached the merits. See Stringer v. Pablos, 320 F. Supp. 3d 862 (W.D. Tex. 2018), rev'd

and remanded, Stringer v. Whitley, 942 F.3d 715 (5th Cir. 2019) (Stringer I). In this case, the

same underlying facts are still uncontested and remain unchanged. Thus, while the Court has

considered new evidence on standing, which the Fifth Circuit found to be lacking in the first

case, it has relied on the facts in the Stringer I record to determine a likelihood of success on the


         'The only six states exempt from the NVRA' s requirements are those that have no voter
registration or allow election day voter registration at the polls. 52 U.S.C. § 20503(b). Texas is not one of
them. See https://w'ww.justice.gov/crt/national-voter-registration-act- 1 993-nvra.

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merits.

          Again, due to the timing of this case (which has been litigated under the constraints of a

pandemic) and the deadlines faced in the current election cycle, this is the second order

addressing Plaintiffs' motion for preliminary injunctive relief.   See   docket no. 46. The first order

granted Plaintiffs' motion in part to ensure that the individual plaintiffs were registered to vote

prior to the deadline for the primary election. This second order is entered prior to the voter

registration deadline for the general election to avoid further injury as a result of continuing

noncompliance with the NVRA.

                                                   II.

                                      Background of litigation

A.        Stringer I

          Jarrod Stringer, Benjamin Hemandez, and John Woods ("Stringer I plaintiffs") were

eligible Texas voters who engaged in NVRA-covered online driver's license transactions but

were denied simultaneous voter registration applications and thereafter disenfranchised. They

brought suit in 2016 asserting that the State of Texas, by and through the Department of Public

Safety and the Secretary of State, engages in a practice that deprives Texans of their federal right

to register to vote or update their voter registration simultaneously with their online driver's

license renewal and change of address transactions. The plaintiffs alleged that this practice,

dating back several years, violates the NYRA and Equal Protection clause. Although advised of

the violation, and admittedly able to change its practice and procedure, the State of Texas refused

to integrate voter registration into its online driver's license renewal and change of address

process to ensure compliance with federal law.
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       The Stringer I plaintiffs sought summary judgment on their claims that Defendants'

online process violates the NVRA and Equal Protection clause. They also sought summary

judgment on Defendants' affirmative defenses, including immunity, standing, and mootness.

Defendants admitted that the key facts of the case were undisputed and argued that state law

prevented them from complying with federal law. Defendants sought summary judgment on

standing, mootness, and on the merits    based on their interpretation of the NVRA, state election

law, and the Equal Protection clause.

       In May 2018, this Court granted declaratory and injunctive relief in favor of the Stringer I

plaintiffs. The Court found, based on largely uncontested facts, that Defendants violated the

National Voter Registration Act, 52 U.S.C.   §   20503(a)(l), 20504(a), (c), (d), and (e), and

20507(a)(l)(A), and the Equal Protection Clause, U.S. Const. amend. XIV,       § 1,   by failing to

permit simultaneous voter registration with online driver's license renewal and change-of-

address transactions. The Court permanently enjoined Defendants from continuing to violate the

NVRA and Equal Protection Clause and ordered them to establish procedures that treat each

online driver's license renewal or change-of-address application as a simultaneous application for

voter registration which must then be submitted to the Secretary of State. Defendants appealed to

the Fifth Circuit, which held that the plaintiffs did not have standing to seek prospective

injunctive relief because they had not shown a continuing or threatened future injury to their

constitutional right to vote. Chief Judge Owen wrote:

       Plaintiffs contend that they have demonstrated a substantial risk that they will suffer a
       future injury as a result of the DPS System's noncompliance with the NVRA and Equal
       Protection Clause. As Plaintiffs concede, to do so, they must demonstrate "a sufficient
       probability that each Plaintiff will use the noncompliant driver's license services again."
       All three Plaintiffs declared that they "plan to continue transacting online with [DPS] in
       the future whenever [they are] required to renew or change the address on [their] driver's
       license and [are] eligible to do so." However, each Plaintiff will have the occasion to use
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the DPS System to update his voter registration only if(1) he moves within Texas, in
which case he might wish use the DPS System to change his address on file with DPS
and his county voter registrar, or (2) he becomes both unregistered to vote and eligible to
renew his driver's license using the DPS System, in which case he might wish to use the
DPS System to renew his driver's license and register to vote.
Plaintiffs rely on two types of evidence that they contend demonstrate a substantial risk
that they will move again. The first is evidence of their prior movesHernandez and
Woods have each moved once in the past five years, and Stringer has moved several
times. However, evidence that a plaintiff has taken an action in the past does not, by
itself, demonstrate a substantial risk that the plaintiff will take the action in the future;
there must be some evidence that the plaintiff intends to take the action again.
Accordingly, evidence that Plaintiffs moved in the past does not establish a substantial
risk that they will do so in the future. Notably, no Plaintiff has expressed any intention to
move in the future.

The second type of evidence cited by Plaintiffs is data from the United States Census
Bureau showing that Americans can expect to move 11.7 times in their lifetimes. This
general data also does not establish a substantial risk that Plaintiffs themselves will move
again; Plaintiff-specific evidence is needed before Plaintiffs' claims can be properly
characterized as an attempt to remedy an imminent injury to Plaintiffs instead of a
generalized grievance available to all Texans.
Plaintiffs also have not demonstrated a substantial risk that they will attempt to use the
DPS System to renew their driver's licenses and simultaneously update their voter
registrations. Plaintiffs contend that Texas's requirement that driver's licenses must be
renewed every six years and the existence of Texas laws providing multiple avenues for
the cancellation of a voter's registration create a "sufficient probability" that, at some
point in the future, Plaintiffs will be both unregistered to vote and eligible to renew their
driver's licenses using the DPS System. However, Plaintiffs do not point to any Plaintiff-
specific evidence suggesting that they will become unregistered and eligible to renew
their driver's licenses using the DPS System.

In light of the absence of any Plaintiff-specific evidence, the evidence in the record does
not demonstrate a substantial risk that Plaintiffs will become unregistered and eligible to
renew their driver's licenses online. Plaintiffs cite Texas laws that provide for the
cancellation of voter registration in four relatively uncommon situations: (1) when a
voter's registration card is returned as undeliverable, the voter does not return a
confirmation notice, and the voter does not vote in two consecutive general elections; (2)
when a registrar finds a voter to be ineligible after an investigation; (3) when another
voter from the same county successfully challenges a voter's registration; and (4) when a
voter cancels his or her voter registration. There is no evidence in the record that suggests
that any Plaintiff is likely to fall within the ambit of these provisions. Furthermore,
Texans are only required to renew their driver's licenses every eight years, and every
other renewal must be accomplished in person. Chances are slim that Plaintiffs will
become unregistered around the time that they need to renew their driver's licenses and
are eligible to do so using the DPS System.


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       In sum, Plaintiffs have not established a substantial risk that they will attempt to update
       their voter registrations using the DPS System and be injured by their inability to do so.
       As a result, Plaintiffs have not established an injury in fact sufficient to confer standing to
       pursue the declaratory and injunctive relief that they seek.

Stringer   v.   Whitley, 942 F.3d at 72 1-23 (emphasis added).


       Judge Ho, concurring, stated:

       I agree with my colleagues that we are not at liberty to decide the merits in this case,
       because none of these Plaintiffs have standing to seek injunctive relief here. They all
       secured their right to vote by the 2016 election cycle. And they claim no future injury that
       we can redress today. . . . But although we have no occasion to decide the merits of
       Plaintiffs' claim due to their lack of a future injury, that does not prevent us from
       acknowledging that Plaintiffs have indeed endured an injury in the past. They were
       unable to exercise their right to vote in past election cycles. And it is a right they will
       never be able to recover. As citizens, we can hope it is a deprivation they will not
       experience again even if the law does not afford them a remedy from this court at this
       time.

Stringer   v.   Whitley, 942 F.3d at 726 (emphasis in original).

B.     Stringer II

       Although the Fifth Circuit found, based on the facts in the record at that time, that Mr.

Stringer had not proven he would likely sustain another injury in the future, it did happen again.

Before November 23, 2019, Mr. Stringer moved from a residence in Bexar County to a new

residence in Harris County. On November 23, 2019, Mr. Stringer had his wife visit the DPS

website to change the address on his driver's license. He would have also had his wife update his

voter registration online when updating his driver's license, but was not given the option. Thus,

he remained registered at his old address in Bexar County when this lawsuit was filed.

       Co-plaintiff John Harms, who was not a plaintiff in Stringer I, was a resident of Bastrop

County prior to July 2019. At that time, he was registered to vote and did vote in Bastrop County.

In mid July 2019, Mr. Harms moved from Bastrop County to Travis County, where he signed a

one-year lease on a house. On or about October 8, 2019, he visited the DPS online system and
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completed the process to change the address on his driver's license to his new residence in Travis

County. If he had been provided the option to simultaneously update his voter registration, he

would have done so. He was not provided that option, and he remained unregistered to vote in

Travis County when this lawsuit was filed.

        Co-plaintiff Nayeli Gomez, who was not a plaintiff in Stringer I, moved from one

residence in Bexar County to a new residence in Bexar County in the Summer of 2019. On

December 9, 2019, she visited the DPS online system to change the address on her driver's

license to her new address but she was unable to simultaneously update her voter registration.

She would have simultaneously updated her voter registration    if she had been given the option,

but she was not given that option. She remained registered at her old address when this lawsuit

was filed.

       In Stringer II, current and former plaintiff Jarrod Stringer, along with current co-plaintiffs

Nayeli Gomez, John Harms, MOVE Texas Civil Fund, and League of Women Voters of Texas

and Intervenor-plaintiffs Texas Democratic Party, DCCC, and DSCC, assert the same causes of

action litigated in Stringer I because the Defendants have not changed their practices and new

violations are occurring and resulting in a continuing injury and/or threatened future injury.

Docket no.   1.


       At the time Plaintiffs filed this lawsuit, and at the time of the preliminary injunction

hearing in January 2020, the following was clear: First, Mr. Stringer was suffering a second

injury as the result of Defendants' noncompliance with the NVRA. If Mr. Stringer's voter

registration was not updated before February 3, 2020, he would not be able to vote in the March

2020 primary election in the county and precinct where he resided. Mr. Stringer also showed, in

his uncontested sworn declaration, that he had plans to move residences again in August 2020.


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Specifically, he and his wife planned to move out of their rental apartment and into a new

residence by August 25, 2020 at the latest. Docket no. 5-1, Appx. 178-180. Thus, not only was

Mr. Stringer's second injury occurring when suit was filed, but there remained a substantial risk

of a third injury when Mr. Stringer moved again and would not be registered to vote pursuant to

the NVRA before the voter registration deadline for the 2020 general election. Second, Mr.

Harms was suffering an injury as a result of Defendants' conduct that would result in

disenfranchisement if his voter registration was not updated before February 3, 2020 because he

would not be able to vote in the March 2020 primary election. Mr. Harms' sworn declaration was

also uncontested. Docket no. 5-1, Appx. 182-183. And third, Ms. Gomez was suffering an injury

as a result of Defendants' noncompliance that would ultimately result in disenfranchisement

because she would not be able to vote in her home precinct in the March 2020 primary election if

her registration was not updated before February 3, 2020. Docket no. 5-1, Appx. 185-186.

       At the same time, Defendants admitted that their practices had not changed. See docket

no. 57 Tr. at 5:20-23 ("I don't think that the facts have changed materially or relevantly since

Stringer one and I think a[s] they've laid them out overall we don't have an objection to their

characterization of the process."); 58:19-21 ("There have been no material changes with our

practices with respect to online driver's license renewal and DPS."); 59:5-6 ("The practices and

law hasn't changed."). Moreover, despite any repeated or recurring injury to Plaintiffs,

Defendants have insisted, at various stages of this litigation, that changes to come into

compliance with the NVRA would take too long. Thus, according to Defendants, Plaintiffs

would just need to figure out another way to get registered to vote. See docket no 46, pp. 9-10.

       After reviewing the evidence, the Court entered its first order granting emergency relief to

the individual plaintiffs, and abated the rest, to ensure that Stringer, Harms, and Gomez would be


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registered to vote by the deadline and would not be disenfranchised in the upcoming primary

election. However, relying on defense counsel's representations about the length of time it would

take to implement corrective measures, the Court fashioned an interim remedy to address the

most immediate harm. As the Court explained:

       The temporary relief being ordered herein is narrowly tailored, and the Court orders no
       more than what the law clearly and unequivocally requires of Defendants. There is an
       expectation, under the notice provisions of the NVRA, that if a designated voter
       registration agency such as DPS violates the NYRA, the chief election official of the
       State upon notification will correct the violation. That is all the Court is ordering
       herein. Compliance with this order will ensure that the individual plaintiffs herein will
       not be forced to suffer a continuing or threatened future injury.

       For the reasons stated herein, which are based on a preliminary review, the Court
       ORDERS that pursuant to 52 U.S.C. § 20504(d), the last change of address forms
       submitted by the individual plaintiffs for purposes of updating the address on their
       driver's license "shall serve as notification of change of address for voter registration with
       respect to elections for Federal office for the registrant involved." Defendant DPS must
       immediately submit the information contained in the previously completed forms, along
       with the individual plaintiffs' stored electronic signatures, as necessary, to the Texas
       Secretary of State. The Secretary of State will then immediately submit the same
       information to the correct county voter registrars, along with a copy of this injunction
       order and written instructions to immediately register these individual plaintiffs to vote.
       The Secretary of State must confirm that all three individual plaintiffs are registered to
       vote before the deadline to register to vote so they may participate in the upcoming
       primary elections. When that confirmation is received, Defendants must file a written
       advisory with the Court no later than 2:00 p.m. on February 3 confirming that all three
       individual plaintiffs are timely registered to vote in the county and precinct in which they
       reside. If Defendants must designate one or more employees, agents, or representatives to
       carry out this order, they are expected to do so.

Docket no. 46, pp. 16-17. Defendants complied with the court-ordered relief, reporting back to

the Court as follows:

       Defendants received the Court's order on the afternoon of January 30, 2020. DPS
       immediately began taking steps to ensure compliance. DPS collected the information
       contained in the individual plaintiffs' driver record from their previously completed
       change-of-address transactions, and such information was delivered to SOS on the
       morning of January 31, 2020. Likewise, upon receipt of the Court's order, SOS
       immediately began taking steps to ensure compliance. The information received from
       DPS was submitted to the correct county voter registrars, along with a copy of the Court's
       injunction order and written instructions to immediately register the individual plaintiffs
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           to vote, as specified in the order. On January 31, 2020, the county voter registrars
           confirmed to SOS that the individual plaintiffs had been registered to vote before the
           deadline to register to vote so they may participate in the upcoming primary elections.
           Additionally, on February 2, 2020, SOS verified in the State's voter registration system
           that the individual voters were actively registered to vote at their new addresses.
           Accordingly, Defendants advise the Court that all three individual plaintiffs are timely
           registered to vote in the county and precinct in which they reside.

Docket no. 48. Defendants did not seek an interlocutory appeal of the first order, which fell short

of ordering full compliance with the NVRA due to time restraints but ensured that the individual

plaintiffs would not be disenfranchised. After giving the parties additional time to conduct

discovery and submit supplemental briefing, the Court now addresses the remainder of the

pending motion for preliminary injunction.2

                                                      III.

                                       Standard and process of review

           To obtain a preliminary injunction, movants must establish each of the following four

factors:

           (1) a substantial likelihood of success on the merits;

           (2) a substantial threat of irreparable injury if the injunction is not issued;

           (3) the threatened injury   if the injunction is denied outweighs any harm that will result if

           the injunction is granted; and

           (4) granting an injunction will not disserve the public interest.

Texas v. United States, 809 F.3d 134, 150 (5th Cir. 2015). In many cases, a preliminary

injunction serves to preserve the relative positions of the parties until a trial on the merits can be

held. Univ. of Texas     v.   Camenisch, 451 U.S. 390, 395 (1981). Preliminary injunctions that would



        2Because the DPS Sytem has not changed since Stringer I, the recent discovery focused on
standing and the length of time it would take for Defendants to make the necessary changes to come into
compliance with the NVRA.

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change, rather than maintain, the status quo are generally disfavored and should not issue unless

the facts and law clearly favor the moving party. Martinez        v.   Mathews, 544 F.2d 1233, 1243 (5th

Cir. 1976). On the other hand, "[a] fundamental principle of preliminary injunctions [is that] [a]n

injunction is of no help if one must wait to suffer injury before the court grants it." Texas        v.    US.,

809 F.3d at 173 n. 137 (citing Un ited States v. Emerson, 270 F.3d 203, 262 (5th Cir. 2001)).

Denying injunctive relief and maintaining the status quo at this juncture of these proceedings

would mean that Mr. Stringer would remain unregistered and ineligible to vote in the precinct

where he resides while violations of the NVRA continue unabated.3 The Court need not wait for

Mr. Stringer to suffer further injury before considering preliminary injunctive relief. Id. Given

the limited purpose of a preliminary injunction, and given the haste that is often necessary in

considering the relief being sought, "a preliminary injunction is customarily granted on the basis

of procedures that are less formal and evidence that is less complete than in a trial on the merits."

Camenisch, 451 U.S. at 395. Ultimately, the decision to grant preliminary injunctive relief rests

in the sound discretion of the district court, and is "often dependent as much on the equities of

[the] case as the substance of the legal issues it presents." Trump        v.   Int'l Refugee Assistance

Project,     U.S.   -, -, 137 S.Ct. 2080, 2087 (2017).
                                                    Iv.

                                           Article III standing

        Again, as they have claimed at every stage of the proceedings in both Stringer I and

Stringer II, Defendants claim none of the Plaintiffs or Intervenor-Plaintiffs have standing to seek




        3As explained infra, the Court's focuses on Mr. Stringer's injuries because it has not yet
determined the standing of all Plaintiffs and Intervenor-Plaintiffs and Mr. Stringer's standing to seek
preliminary injunctive relief is indisputable.

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injunctive relief.4

          In a lawsuit for injunctive relief, the presence of one party with standing is sufficient to

satisf Article III's case or controversy requirement. Rumsfield v. Forum for Acad. &

Institutional Rights, Inc., 547 U.S. 47, 52 n. 2 (2006); Texas v. United States, 945 F.3d 355, 377-

378 (5th Cir. 2020). Moreover, "the injury alleged as an Article III injury-in-fact need not be

substantial; it need not measure more than an 'identifiable trifle,'    ...   [t]his is because the

[requirement] under Article III is qualitative, not quantitative, in nature." OCA-Greater Houston

v.   Texas, 867 F.3d 604, 612 (5th Cir. 2017) (citing Ass 'n of Cmty Orgs. For Reform Now             v.


Flowler, 178 F.3d 350, 358 (5th Cir. 1999)).

         To establish standing under Article III, a plaintiff must demonstrate (1) that he or she

suffered an injury in fact that is concrete, particularized, and actual or imminent, (2) that the

injury was caused by the defendant, and (3) that the injury would likely be redressed by the

requested judicial relief. Thole     v.   US. Bank NA.,   U.S.   -, 140 S.Ct. 1615, 1618 (2020);
Friends of the Earth, Inc.    v.   Laidlaw Environmental Services, 528 U.S. 167, 180-8 1 (2000);

Lujan   v.   Defenders of Wild! ife, 504 U.S. 555, 560-61, 112 S.Ct. 2130 (1992). Standing is to be

determined as of the commencement of suit. Lujan, 504 U.S. at 570 n. 5. In this case, the Court

has already determined that the individual plaintiffs have Article III standing, as reflected in its

order entered January 30th granting partial preliminary injunctive relief (docket no. 46). As the

Court explained:

         It is undisputed that Plaintiffs Stringer, Gomez, and Harms were not simultaneously
         registered to vote (i.e., their voter registration was not updated) at the time of their online
         transactions with DPS, a designated voter registration agency. It is undisputed that they
         are still unregistered to vote and will be disenfranchised on March 3 if they are not
         registered to vote by the deadline February 3. This continuing injury (lack of voter


        4Unlike Stringer I, Defendants have not raised immunity and mootness defenses. They only
challenge Article III standing.

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       registration as a result of Defendants' unlawful procedure) and threatened future injury
       (disenfranchisement) more than satisfies the standing necessary for injunctive relief. See
       Stringer v. Whitley, 942 F.3d at 720 ("plaintiffs seeking injunctive []relief can satisfy the
       redressability requirement only by demonstrating a continuing injury or threatened future
       injury."). The Plaintiffs' continuing and threatened future injury will be (1) potentially
       suffered by these plaintiffs, not someone else; (2) "concrete and particularized," not
       abstract; and (3) "actual or imminent, not 'conjectural' or 'hypothetical." Id. at 720-21.
       With the deadline for voter registration in just a few days, and the primary election thirty
       days thereafter, there is a "substantial risk" that the individual plaintiffs will be
       disenfranchised if they are not registered to vote; thus, threatened future injury is
       indisputably "imminent." Moreover, Plaintiffs' continuing and future threatened injury is
       "fairly traceable" to the challenged action of Defendants. But for Defendants failure to
       comply with the NVRA, and the unjustified burden on Plaintiffs' constitutional rights,
       Plaintiffs would already be registered to vote in the county and precinct where they
       reside.

       The future injury disenfranchisement is irreparable. The right to vote is a fundamental
       right, and the deprivation of such right is something Plaintiffs "will never be able to
       recover." Stringer v. Whitley, 942 F.3d at 726. (Ho, J., concurring). But the injury that
       will occur between now and March 3 is still redressable with immediate, temporary
       injunctive relief. These individual plaintiffs should not be forced to wait and suffer a
       constitutional deprivation when it can be avoided by granting temporary injunctive relief.
       Texas v. US., 809 F.3d at 173 n. 137 (citing United States v. Emerson, 270 F.3d 203, 262
       (5th Cir. 2001)).

Docket no. 46, pp. 14-15.

       Thus, the question becomes whether anything has changed. After determining that the

individual plaintiffs had standing, the Court ordered the Secretary to register the individual

plaintiffs to vote to avoid disenfranchisement in the primary election. Docket no. 46. The

Secretary complied with the court-ordered temporary relief and as a result "all three individual

plaintiffs [were] timely registered to vote in the county and precinct in which they reside."

Docket no. 48. Ironically, the individual plaintiffs were registered to vote solely as a result of a

court order, rather than any voluntary action by the Secretary, yet Defendant now claims the

individual plaintiffs lack standing because they are registered to vote. Docket no. 74, p. 5 ("all

three Individual Plaintiffs are now registered to vote. Accordingly, each Individual Plaintiff

should be dismissed from this litigation for lack of standing."). Even more ironically, the court-


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ordered voter registration was a temporary measure out ofdeference to Defendants who

represented to the Court at the time of the injunction hearing that full compliance with the NVRA

would be impossible to achieve before the voter registration deadline on February 3, 2020. See

docket nos. 36, 46, 47.

           There are notable deficiencies with Defendants' challenge to the individual plaintiffs'

standing at this stage of the proceedings. First, Defendants cite no authority for the proposition

that plaintiffs who have standing when a lawsuit is initiated and at the time of court-ordered

interim relief are thereafter divested of standing as a result of court-ordered interim relief.5 In

voting rights cases, interim injunctive relief is often necessary because litigation may last longer

than an election cycle. But interim relief is not final relief, and if interim relief divested plaintiffs

of standing, many voting rights cases would abruptly end before the Court could ever reach the

merits or consider the ultimate relief being sought. In this case, compliance with the NVRA and

the Equal Protection clause is the ultimate relief being sought. The court-ordered interim relief in

January merely accomplished the manual task of getting the individual plaintiffs registered to

vote by alternative means. But getting the individual plaintiffs registered to vote to avoid

imminent disenfranchisement by no means addressed the ultimate relief being sought in this

lawsuit.

           Second, Defendants seem to conflate standing with mootness, but they make no argument

that the court-ordered interim relief rendered all of the individual plaintiffs' claims moot. Even

voluntary cessation of a challenged conduct does not ordinarily render a case or controversy moot



         5Almost the entire focus of Defendants' post-discovery brief (docket no. 74) is on standing.
Defendants have never disputed the facts. Approximately one page in Defendants' brief is devoted to the
standing of the individual plaintiffs, and the only authority cited is Stringer I. But the Stringer I plaintiffs'
lack of standing, as determined by the Fifth Circuit, does not dictate the standing of the individual
plaintiffs in this case, which must be based on current facts and circumstances.

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and there has been no voluntary cessation in this case as Defendants have failed to come into

compliance with the NYRA. As this Court noted in Stringer I, voting-related lawsuits do not

become moot just because an election has passed. Ctr. for mdiv. Freedom        v.   Carmouche, 449

F.3d 655, 662 (5th Cir. 2006) ("Controversy surrounding elections laws.       . .   is one of the

paradigmatic circumstances in which the Supreme Court has found that full litigation can never

be completed before the precise controversy (a particular election) has run its course."). Although

the Fifth Circuit touched on the issue of mootness in Stringer I, the issue was never reached

because the Court determined that the Stringer I plaintiffs lacked standing at the time the lawsuit

was initiated. Stringer v. Whitley, 942 F.3d at 724. The circumstances for all three individual

Stringer II plaintiffs are different because they did have standing when this lawsuit was initiated

and they had standing when the Court issued its first order granting injunctive relief. Even if

mootness is now implicated for the claims of Mr. Harms and Ms. Gomez, Mr. Stringer's

circumstances have shown that this is exactly the type of violation that is capable of repetition yet

evading review. See Spencer v. Kemna, 523 U.S. 1, 17-18 (1998) (the doctrine applies when the

challenged action is in its duration too short to be fully litigated prior to cessation or expiration

and there is a reasonable expectation that the same complaining party will be subject to the same

action again). Defendants have thus far refused to change their online process to allow

simultaneous voter registration applications. And now, the same injury is likely to occur again.

When a controversy is truly moot, there is nothing left to remedy. In this case, Defendants'

noncompliance with the NVRA has continued unabated, and the challenged action continues.

       Although they do not couch their argument in terms of mootness, Defendants claim that

because they complied with the Court's January order and registered the individual plaintiffs to

vote, none of the individual plaintiffs have a claim and their lawsuit should be dismissed. But


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Defendants were simply being ordered by the Court to cany out the duties that federal law

requires of them.   See   52 U.S.C.   §   20506 (a)(4)(A),(6)(C) (A voter registration agency shall

provide assistance to each applicant in completing voter registration forms unless the applicant

refuses such assistance). Again, the underlying violations that form the basis of the complaint

have not been corrected and continue unabated. The DPS online renewal and change of address

transactions do not serve as "simultaneous" applications for voter registration, in violation of 52

u.s.c. §    20503(a)(l), 20504(a)(1); the separate SOS voter registration process is not "part of'

the DPS online driver's license transaction, as required by 52 U. S.C.       §   20504(c)( 1); information

required by SOS for a separate voter registration transaction "duplicates" the information

required by DPS for an online renewal or change of address transaction, in violation of 52 U.S.C.

§   20504(c)(2)(A); and the online change of address transaction does not "serve as notification of

change of address for voter registration," as required by 52 U.S.C.       § 20504(d).6

         Defendants' argument also overlooks the true nature of the Plaintiffs' cause of action.

Plaintiffs are claiming that the State's process is itself unlawful and violates their federal right to

"[s}imultaneous application for voter registration and        .. driver's license[.]" 52 U.S.C. § 20504.
                                                                .



This cause of action remains cognizable regardless of whether the individual plaintiffs have been

registered to vote by alternative means and pursuant to court order. See Spokeo,         Inc.   v.   Robins,


136 S.Ct. 1540, 1549 (2016), as       revised (May    24, 2016) ("Congress has the power to define

injuries and articulate chains of causation that will give rise to a case or controversy where none




         6The mandates of the NVRA dictate exactly the opposite of what Defendants want Texans to do
to personally ensure they are registered to vote: engage in a second transaction that requires a separate
application with duplicate information and the burden of downloading, printing, and mailing or personal
delivery. Congress lifted these burdens to make voter registration easier, yet Defendants have ignored the
NVRA mandate and impose requirements which result in disenfranchisement if voters do not jump
through all the hoops.

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existed before."); Wendt v. 24 Hour Fitness USA, Inc., 821 F.3d 547, 552 (5th Cir. 2016) ("{t]he

actual or threatened injury required by Art. III may exist solely by virtue of statutes creating legal

rights, the invasion of which creates standing."); ACORNv. Fowler, 178 F.3d 350, 363 (5th Cir.

1999) (the NVRA' s private right of action "extend[s] standing under the Act to the maximum

allowable under the Constitution"); Arcia v. Florida Sec 'y of State, 772 F.3d 1335, 1341 (11th

Cir. 2014) ("Even though they were ultimately not prevented from voting, an injury like theirs

[being erroneously identified as a non-citizen and removed from the voter rolls] is sufficient to

confer standing."); Common Cause/Georgia v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009) ("A

plaintiff need not have the franchise wholly denied to suffer injury.").

         Finally, and perhaps most importantly, even if Mr. Harms and Ms. Gomez received all the

relief to which they were entitled in this Court's interim order (because they were registered to

vote) and, as Defendants suggest, they were subsequently "divested of standing" to pursue any

further relief (compliance with the NVRA and the Equal Protection clause), only one plaintiff

must have Article III standing for the Court to consider injunctive relief. The record clearly

indicates that Mr. Stringer had standing when this lawsuit was initiated; he had standing at the

time the Court entered interim relief in January; and Mr. Stringer continues to have standing

today.

         In Stringer I, the Fifth Circuit determined that Mr. Stringer lacked standing because

although he was not registered to vote when he used the noncompliant driver's license services,

he "became registered prior to bringing [the] lawsuit" and he failed to show that his injury was

continuing or that he faced a threat of future injury. Stringer v. Whitley, 942 F.3d at 724. To show

a threat of future injury, the Court explained, Stringer must demonstrate "a sufficient probability

that [he] will use the noncompliant driver's license services again." Id. at 722. For example,


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Stringer "will have the occasion to use the DPS System to update his voter registration.   . .   if he

moves within Texas, in which case he might wish [to] use the DPS System to change his address

on file with DPS and his county voter registrar. . .". Id.

       Although the Fifth Circuit found that Mr. Stringer had not shown he would move again

and use the DPS System to change his address and update his voter registration again, the

evidence now shows that it did happen again. In late 2019, Mr. Stringer moved from his

residence in Bexar County to a new residence in Harris County. On November 23, 2019, he used

the DPS System to change the address on his driver's license. He would have simultaneously

updated his voter registration, but was not given the option. Thus, unlike the circumstances in

Stringer I, Mr. Stringer was unregistered to vote in Harris County when this lawsuit was flied. He

clearly had standing when suit was initiated. Docket no. 1; Docket no. 5-1, appx. 178-180.

       Soon after suit was filed, Plaintiffs again sought preliminary injunctive relief. Docket no.

5. Because Mr. Stringer was suffering a second injury as the result   of Defendants'

noncompliance with the NVRA, and he would not be able to vote in the March 2020 primary

election in the county and precinct where he resided, the Court ordered that Mr. Stringer's voter

registration be updated before February 3, 2020. Docket no. 46. Defendants complied with the

Court's order and manually updated Mr. Stringer's voter registration so he could vote in the

primary election. Docket no. 48. However, the court-ordered voter registration did not "divest"

Mr. Stringer of standing to pursue future injunctive relief, or render his claims moot, because he

had concrete plans to move again in August 2020 and would once again use the DPS System to

change his address and update his voter registration. Docket no. 5-1, appx. 178-180; docket no.

69-1, pp. 72, 74 (Deposition of J. Stringer at 35:6-15, 37:1-4); docket no. 91, exh. A.




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        Those plans have now come to fruition. Mr. Stringer moved to a new residence on

August 15, 2020, and he fully intends to use the DPS System to again change his address and

simultaneously update his voter registration. Docket no. 96. Thus, absent injunctive relief, Mr.

Stringer will have his rights violated a third time. Applying the standard set forth in Stringer I,

the uncontested facts in the record clearly demonstrate "a sufficient probability that [Mr.

Stringer] will use the noncompliant driver's license services again" and there is a "substantial

risk" that he will be injured by his inability to simultaneously register to vote as required by the

NVRA. There is also a "substantial risk" that Mr. Stringer will be disenfranchised in the general

election if injunctive relief is not ordered.7

        Again, the NVRA's private right of action "extend[s] standing under the Act to the

maximum allowable under the Constitution." ACORNv. Fowler, 178 F.3d at 363. The presence

of one party with standing is sufficient to satisfi Article III. Rumsfeld v. Forum for Academic &

Institutional Rights, 547 U.S. at 52 n. 2; Texas    v.   US., 787 F.3d at 747. And a threat of

impending injury is sufficient to satisfy Article III standing. See Wendt, 821 F.3 d at 552 ("[t]he

actual or threatened injury required by Art. III may exist solely by virtue of statutes creating legal

rights, the invasion of which creates standing"). Here, Mr. Stringer has presented undisputed

evidence of not only past violations but an imminent threat of future injury. Despite the NVRA

being in existence for almost thirty years, and Defendants' knowledge that they are not in

compliance with the NYRA, Defendants have failed to take the necessary steps to cure ongoing

statutory violations and come into compliance. The immediate threat of additional injury to Mr.

Stringer continues because Defendants have not altered their practices.




        7As Mr. Stringer has noted in his recent sworn declaration, he currently resides in a different
congressional district than the district in which he resided when this lawsuit was initiated. Docket no. 96.


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        Because the Court finds that Mr. Stringer has standing to seek injunctive relief, and the

injunctive relief he seeks is the same relief sought by the organizational plaintiffs and intervenor-

plaintiffs, the Court finds it unnecessary at this juncture to determine the standing of each

organization to seek injunctive relief   8




                            Substantial likelihood of success on the merits

        The Court has twice addressed the merits of the claims, and incorporates those findings

herein. At the risk of repetition, the Court restates the facts, which are based on the Stringer I

record as well as the record submitted by the parties herein.

A.      How the DPS System works

        As previously explained, each of Mr. Stringer's personal, experiences with DPS 's online

process are consistent with the testimony of State officials and employees with knowledge of

how the process worked in the past and how it currently works. DPS operates offices around the

State and issues driver's licenses and other state identification cards. DPS is also a designated

voter registration agency, pursuant to 52 U.S.C.      §   20506. DPS's in-person driver's license

applications   (DL-14A),9   in-person renewal/replacement/change of address forms (DL-43),'° and

mail-in change of address forms (DL-64)" currently serve as simultaneous voter registration




        81f the Court did not face time restraints, it would address the standing of each organization.
However, given the calendar days remaining before the voter registration deadline, it is in the best
interest of the parties to simply address the standing of Mr. Stringer at this juncture.

        9Stringer I docket no. 93, exh. A-7.

        10Stringer I docket no. 93, exh. A-8.

        "Stringer I docket no. 93, exh. A-9.


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applications as required under the NVRA.12 However, DPS has not integrated voter registration

into its online process for driver's license renewal and change of address; thus, the driver's

license application and voter registration application remain separate processes rather than one

simultaneous   transaction.'3


        Texas has an NVRA implementation plan which explains: "The Department will [provide

to each person who applies in person] a form and procedure that combines the department's

application form for a license, identification card or EIC with an officially prescribed voter

registration application form.    . .   The form will also inform the applicant that the applicant's

electronic signature provided to the department will be used for submitting the applicant's voter

registration application." Stringer I docket no 77, appx. 30 (emphasis        added).'4   The

implementation plan further states that the "department will use a change of address form and

procedure that combines department and voter registration functions. The change of address form

submitted in person will allow a licensee or cardholder to indicate whether the change of address

is also to be used for registration purposes." Id. (emphasis added). On "[e]ach weekday the

Department is regularly open for business, the Department will electronically transfer to the

Secretary of State (SOS) the name and relevant data regarding each applicant who is of voting


         12Until May 2015, DL-64 did not include any question about whether the applicant wanted to
register to vote. Stringer I docket no. 77, appx. 116 (admission no. 21).

         '3The process for driver's license change of address and renewal is "combined online it's one
system interface." Stringer I docket no. 94-12, deposition of S. Gipson, at 37:10-16; docket no. 77, appx.
117, admission no. 5 ("the [Texas.gov] website provides a single online process for qualified applicants
to renew their driver's license, update the address listed on their driver's license, or complete both
processes in a single online transaction"). But voter registration is a completely separate transaction that
must be done through SOS. Stringer I docket no. 94-12, deposition of S. Gipson, at 78:1-9; 94:1-4; see
also Stringer I docket no. 77, appx. 118 (admission nos. 10, 11).

        '4The form states: "By providing my electronic signature, I understand the personal information
on my application form and my electronic signature will be used for submitting my voter's registration
application to the Texas Secretary of State's office. Wanting to register to vote, I authorize the
Department of Public Safety to transfer this information to the Texas Secretary of State." Stringer I
docket no. 77, appx. 40, deposition of K. Ingram (SOS) at 62:18-63:1.

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age and a United States citizen who affirmatively answered the voter registration question."

Stringer I docket no. 77, appx. 31 (emphasis added). This plan was implemented after the

enactment of the NVRA and confirms Texas's understanding that the driver's license/voter

registration process must be "combined" in one simultaneous transaction and that electronic

signatures would be used for voter registration purposes.

         When an individual applies for a Texas driver's license the first time, he must appear in

person. During the transaction he signs a key pad which captures his electronic                 signature.15   After

a driver's license is issued, subsequent transactions (for renewal, replacement, or change of

address) may be handled by mail, online, or even by phone. For voter registration purposes, the

change of address forms submitted by mail have been handled in the same manner as

renewal/change of address forms submitted in person. In both form DL-43 (the in-person

application for renewal/replacement/change of address) and form DL-64 (the mail-in application

for change of address) the driver's license and voter registration applications have been

integrated or combined into one simultaneous transaction so that a customer need only check a

single box indicating that he/she would like to register or update his/her voter information. After

checking the box during the transaction, no further steps are            necessary.16   DPS receives the

information and the individual's previously stored electronic signature, along with all other

identifying data, is electronically submitted to SOS to be used for voter registration purposes)7




         '5See   Stringer I docket no.   94-8,   deposition of S. Gipson (DPS), at 234:11-24.

         16jother words, there is no need to go to SOS to obtain, print, complete, sign, and mail a
separate voter registration application.

        17Stringer I docket no. 94-7, deposition of Betsy Schonhoff, SOS voter registration manager, at
28:3-4 ("We get application files from them on a daily basis for voter registration"); Stringer I docket no.
77, appx. 117, RFA 26 ("Admits that the information DPS transmits to SOS about each applicant for
voter registration includes a digital image of the applicant's signature").


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Upon receipt, the SOS then transmits the data to local registrars for completion of the voter

registration process.'8 Although the in-person and mail-in renewal/change of address forms

contain a blank for a signature, neither DPS nor SOS use the signature on paper. 19 Instead, DPS

and SOS use the previously stored electronic       signature.2°   In fact, SOS admits that it never uses

paper signatures obtained through DPS transactions           it uses only previously imaged electronic

signatures for voter registration purposes.2' As Keith Ingram, the SOS 30(b)(6) representative,




        '8As B. Schonhoff further explained:
        Q: So DLS is the diver's license system, correct?
        A: That's what I understand, right.
        Q:   And how does that system function within that process, the transfer process?
        A: It's my understanding that when the operator enters an application into the DLS system and
        indicates that a person wants to be a registered voter, that information is then warehoused, if you
        will, at the State, and every night the State groups up those applications and send them well, we
        get them as a single file. So depending on for the DPS applications, I think we actually go pull
           they produce the file, and then we go pull it and process it through our system on a daily basis.
        Q: What do you mean by "our system"?
        A: I'm sorry, the voter registration system, the team database system where we actually part the
        addresses and give that information out to the voter registrars of the county.
(Stringer I docket no. 94-7, deposition of B. Schonhoff, at 68:1-20).

          '9See Stringer I docket no. 94-8, deposition of S. Gipson (DPS), at 254:4-7 (Q: So DPS was never
actually scanning physical ink signatures from paper and then transmitting them to SOS . . . A: No, we
were not). See also Stringer Idocket no. 94-10, deposition of J. Crawford (DPS), at 73:17-25 (Q: Does
the DLS only store electronic signatures? A: Yes. . . . Q: Sure. Does the DLS only store signatures which
are input using the keypad? A: The DLS database itself, yes, it only stores signatures that are collected on
those electronic pads); 76:20-2 1 (Q: Are signature files ever removed from DLS? A: No.); 77:6-16 (Q: If
a person's record has more than one signature associated with that record, which signature would be
batched and sent to the Secretary of State with the voter extract. . . file? A: The most recently captured
one).
         20See Stringer I docket no. 94-10, deposition of J. Crawford, at 139:10-21 (Q: [T]he mail-in
change of address, the current one. . . [w]ith regard to the batch that's sent to the Secretary of State at
night for the voter registration, if the person answers "yes" on their change of address that's mailed in
and that's input into DLS, it's the electronic signature that was previously provided the last time that
person went in person. That's the signature that goes to the Secretary of State. Is that right? A: Yes, that's
correct).

         21See Stringer I docket no. 77, appx. 117, admission no. 26 (Defendants admit "that the
information DPS transmits to SOS about each applicant for voter registration includes a digital image of
the applicant's signature"); appx. 118, admission nos. 10, 11 (Defendants admit "that individuals are not
registered to vote in connection with their interactions with DPS unless they submit an image of their
signature, either by submitting a signed application by mail, or providing an electronic image of their
physical signature in person at a DPS location") (emphasis added).

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testified:

         Q:   So you identified for me or explained to me why               what the electronic signature or the

        keypad signature at DPS is used for. It's used for the signature that's required in the

        Texas Election Code. You read me the section. Is that right?

        A: That's right.

        Q:    What's the ink signature on the DPS's physical forms used for as far as voter

        registration?

        A: I don't know. I don't know         if it's used for anything. Once they've applied in person at

        the office, they've signed it electronically.

                                                        *     *    *



        Q:    On the.   . .   driver's license forms.   . .   it says, "By providing my electronic signature, I

        understand the personal information on my application form and my electronic signature

        will be used for submitting my voter registration application to the Secretary of State's

        Office." Correct?

        A: That's what it says.

        Q.    Okay. And so that's indicating to the prospective voter that the electronic signature is

        what's used as the signature that's compliant with the Texas Election Code?

        A: The physical signature that's electronically captured, yes.

        Q: Okay. Back to your point about the online transactions not containing a signature, the

        DPS does use the prior provided electronic signature that                for the driver's license that

        they the customer used            provided the last time they were in person. Correct?

        A: Presumably, yes.

        Q: The same goes for the mail-in change of address transaction                 are you looking at your

        driver's license there?


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       A: Yeah. Because this one was renewed online, and so I guess that I wrote that signature

       at their signature capture device quite a while    ago...
       Q:   For the mail-in change of address form that.    . .   DPS receives that has the voter

       registration question, there is not an electronic signature or a use your phrase         the

       physical signature provided on a keypad provided for that change of address interaction.

       Correct?

       A: No. There's a physical signature on the        on the address change application.

       Q:   Right. But the information that gets sent on to the voter registrars through the

       Secretary of State's Office is the data that's pulled from that form and then the electronic

       signature that was previously provided by the customer in person at a DPS office?

       A: That's my understanding, yes.

       Q:   Well, is that the Secretary of State's understanding?

       A: That is the Secretary of State's understanding. You bet.

Stringer I docket no. 94-il, appx. 39, 42, deposition of K. Ingram, at 50:1-11; 95:14-97:14.

       Sheri Gipson with DPS also testified:

       Q:   So the signature that is sent for an in-person transaction where someone answers "yes"

       to the voter registration question and    and similarly when someone changes their address

         excuse me      address via the mail, the signature that's sent for both of those voter

       registration applications, that's the electronic signature; is that right?

       A: That is correct.

       Q:   And that's sent to the Secretary of State?

       A: That is correct.

       Q: Okay. The ink signature is never sent to the Secretary of State, correct?

       A: That is correct.


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                                               *    *   *



        Q: Does anyone go through and compare these two?

       A: Not typically,   no....
                                               *   *    *



       Q: Okay. So then the mail-in signatures are never compared [with the stored electronic

       signatures].

       A: During the routine process, it would never be compared.       . . .   When I say "routine

       process," what I'm talking about is the individual that's processing that mail renewal

       application, they would never compare that signature.

Stringer I docket no. 77, appx. 69, deposition of S. Gipson, at 203:19-204:7; appx. 79 at 234:25-

235:1; 236:19-237:9.

       Because preexisting electronic signatures, rather than signatures on paper, are used for

paper (in-person and mail-in) renewal and change of address transactions, it would seem logical

that preexisting electronic signatures would be used for paperless (online) transactions. Yet

Defendants claim that, under Texas law, renewal and change of address transactions performed

online require a signature on paper for voter registration purposes. As Mr. Ingram testified:

       Q: So in that same way, the online transaction could utilize the previously provided

       electronic signature that was provided in person by the customer for the voter registration

       application form that gets to the voter registrar in the same way that the change of address

       mail-in occurs?

       A: It could if the law allowed it, but the law doesn't allow it, so it can't.

       Q: What portion of the [Texas] law doesn't allow it?

       A: 13.002(b).

Stringer I docket no. 94-11, deposition of K. Ingram, at 97:15-24; Stringer I docket no. 77, appx.


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42. Because Defendants assert that Texas law requires a signature on paper, and a signature on

paper during a paperless transaction is not possible, Defendants essentially claim they should be

excused from compliance with the NVRA when it comes to online renewal and change of

address transactions.22

        Prior to 2013, a person who engaged in an online/paperless transaction for a driver's

license renewal or change of address would provide the same in-depth identifying information

required for an in-person or mail-in transaction, but when reaching the question of whether he

would like to register to vote or update his voter information, checking the "yes" box would

automatically default to "no." Thus, while the user may have been led to believe that his "yes"

answer would result in updating his voter information, and there was the appearance of

compliance with the NVRA, there was never an intent on the part of DPS or SOS to actually

update the voter registration information. Thus, the answer to the question regarding voter

registration was completely meaningless. SOS was aware of the NVRA requirements. SOS was

also aware that the online voter registration question, programmed to automatically default to

"no," was completely meaningless.23 As Mr. Ingram testified:

        Q: Why is there a voter registration question on the online DPS transaction           application?

        Excuse me.

        A: Well, I imagine it's because    of Section 5 of the National Voter Registration Act of

        1993.



        22As Ms. Gipson explained, for online transactions, Texas has decided that a previously captured
electronic signature is sufficient for driver's license purposes, but they've refused to accept the same
electronic signature for voter registration purposes. Stringer I docket no. 77, appx. 70, deposition of S.
Gipson, at 215:21-216:7.

         230r worse, it could have led to voter registration data being purged. Legislative history suggests
that a key concern when enacting the NVRA was abuse of the purging efforts, so Congress specifically
prevented states from removing voters from the rolls for failure to vote or failure to respond to a change-
of-address notification. See H.R. Rep. No. 103-9, at 16 (1993), reprinted in 1993 U.S.C.C.A.N. 105, 120.

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        Q:   Could you elaborate on that a little bit?

        A: Sure. The National Voter Registration Act of 1993 required that motor vehicle

        agencies, in our case the DPS, whenever a person has a driver's license transaction

        driver's license transaction, that they should simultaneously offer the right   the ability to

        update their voter registration or register to vote for the first time. That's why the NVRA

       is called the Motor Voter law.

                                                 *   *    *



       Q:    Okay. So in     back in 2012, the Secretary of State's office was aware that the answer

       to the "do you want to register to vote" question online was defaulting to no. Is that

       correct?

       A: Right.

       Q:    Was there any     any discussion at that point with the Department of Public Safety to

       to make that change?

       A: Not that I recall.

Stringer I docket no. 77, appx. 40-4 1, deposition of K. Ingram at 62:4-17; 84:24-85:8.

       As explained in Mr. Ingram's deposition, the automatic default to "no" for voter

registration was the subject of a 2012 complaint by an unidentified motor voter. Stringer I docket

no. 77, appx. 41, deposition of K. Ingram at 83:15-85:3. SOS responded: "That is something we

can discuss with DPS in the future." Stringer I docket no. 77, appx. 41, deposition of K. Ingram

at 84:16-18. Mr. Ingram did not recall any subsequent discussions. After some passage of time,

DPS did remove the automatic default to "no." Stringer I docket no. 77, appx. 41, deposition of

K. Ingram at 82:7-13.

       Thereafter, until February 27, 2016, Step 5 of the online renewal and change of address

interface was changed to prompt the applicant to select "yes" or "no" beneath the statement "I


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want to register to vote." It no longer defaulted to "no," but selecting "yes" did not provide a

simultaneous voter application. Instead, it gave the user a link to the SOS voter registration

website for a completely separate application process. Stringer I docket no. 77, appx. 118,

admission no. 7.

        After February 27, 2016, Step 5 of the online renewal and change of address interface was

changed to prompt the applicant to select "yes" or "no" to answer the question "Do you want to

request a voter application?" Stringer I docket no. 77, appx. 118, admission 8, 9. While the

online process currently accepts a "yes" answer to the voter application question, the transaction

still ends there. The user is still not provided a simultaneous application for voter registration

purposes. Instead, when a user responds with a "yes" answer to the voter application question,

the user is simply given a website link to the SOS office.24     See   Stringer I Stipulation no. 10. If the

user goes to the SOS website, he must request and fill out a completely separate voter registration

application as if there had been no DPS transaction at all.25 For an in-county change of address,

SOS will handle the transaction but it is still a completely separate process from the DPS

transaction. For an out-of-county change of address, the application must be retrieved, printed,

filled out, and mailed or delivered in person to the county registrar in order to update the voter

registration. The application seeks the same information required by DPS for an online driver's

license change of address but the applicant must go through a completely different governmental

entity (SOS) with a completely separate application process.26 Thus, it is indisputable that the


        24See  Stringer I docket no. 77, appx. 45, deposition of K. Ingram at 182:5-10 ("When they select
yes to voter reg online, they are merely presented with a link and has no indication of whether or not they
actually registered to vote").

         25See Stringer I docket no. 77, appx. 78, deposition of S. Gipson at 136:20-137:2 1 (the voter
registration process "is separate").

        26See Stringer I docket no. 94-7, deposition of B. Schonhoff (SOS), at 157:19-158:18 (they would
have to fill the same information out twice).

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online DPS renewal/change of address transaction and SOS voter registration transaction are not

simultaneous, but rather entirely separate application procedures conducted through separate

agencies.27   If an individual does not take these extra steps go to the SOS website, request an

application, print out the application, fill out and sign the application, and then mail or hand

deliver it to the country registrar    he will not be registered to vote.

        Both DPS and SOS claim they cannot comply with the NVRA and integrate DPS online

renewal/change of address with SOS voter registration to provide a simultaneous application

because the Texas Election Code requires a signature. Stringer I docket no. 94-7, deposition of B.

Schonhoff, at 195:11-17; see    also   Stringer I docket no. 94-11 and Stringer I docket no. 77, appx.

42, deposition of K. Ingram, at 97:15-24. Yet SOS admits that it uses previously stored electronic

signatures for all voter registration applications that originate with DPS regardless of whether

those applications are paper transactions. As Betsy Schonhoff testified:

        Q: The signature that Secretary of State is currently using for voter registration

       applications is an electronic signature that is provided when a person goes in person to a

       DPS office; is that right?

       A: When they are       when they are in the application file, you mean?



       27SeeStringer I docket no. 94-7, deposition of B. Schonhoff (SOS), at 159:23-160:11:
       Q: Does SOS track information about whether a DPS customer clicks "yes" to the voter
       registration question on the online application?
       A: For the DPS application?
       Q: Yes.
       A: No, not to my knowledge.
       Q: Okay. Does SOS track information about whether a DPS customer using an online diver's
       license or filling out an online diver's license application, whether that person clicks through to
       the SOS website?
       A: No to my knowledge.
       Q: And why not?
       A: It's not our application. It's not our software. It's not our website.




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        Q:   Yes, the voter registration application.

        A: Yes, It's what they have signed on that signature pad. That's my understanding.

        Q:   Turning your attention to the mail-in change of address. You acknowledge that the

        Secretary of State does receive voter registration applications from change of address

        mail-ins that DPS processes; is that correct?

        A: That's correct.

        Q:   Yes.

        A: It is my understanding they treat in-person just like        mail just the same as in person.

        Q:   But the mail-in       correct me if I am wrong    the mail-in address to the application for

       update with DPS, the signature that's on that form is not extracted and somehow the

        Secretary of State gets access to it; is that correct?

       A: That's my understanding.

       Q:    . . .   It is your understanding that the current law requires a signature for the voter

       registration application. Do I have that right?

       A: Yes.

       Q:    The mail-in forms that you all are getting information from, from DPS, uses the prior

       provided electronic signature from that customer; is that right?

       A: That's my understanding.

Stringer I docket no. 94-7, deposition of B. Schonhoff, at 195:18-196:25.

       Defendants also stipulate that DPS uses electronic signatures for all online driver's

license renewal or change of address transactions. Stringer I docket no. 94, Stipulation        11   ("The

signature that appears on the license generated as a result of a customer's online driver's license

renewal or change of address transaction is an image of the applicant's physical signature,

electronically captured during the applicant's most recent in-person transaction in a DPS field


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office (On the DL-14A and DL-43 forms this is referred to as the applicant's 'electronic

signature')"). Defendants admit that they even use electronic signatures for driver's license

transactions conducted over the telephone. See Stringer I docket no. 94-12, deposition of S.

Gipson, at 175:2-23 ("Telephone transactions are handled in the same manner as an online

transaction.    . .   Q:   So when a customer renews a driver's license on   over the telephone, does

DPS use the signature that was previously on file to         to put on the customer's renewed driver's

license? A: Yes.")

        Defendants admit that the personal information required for authenticating online

transactions is equal to or even more rigorous than the identifying information used for in-person

and mail-in transactions.28 They also admit there are no technological barriers to simultaneous

online transactions. Again, Ms. Schonhoff testified:

       Q:   . . .   If they send DPS collects and sends to you, the Secretary of State's office, all of

       the information they currently send to you for in-person transactions where the individual

       checks "yes," I want to register to vote, they send you all of that same information, the

       same data points, the same electronic signature, the TEAM system on your end coUld

       process it in the same way that it currently processes the information that comes for in-

       person transactions at DPS?



        28See Stringer I docket nos. 94-8 and 94-12, deposition of S. Gipson (DPS), at 237:16-20
(Q: How does DPS go about verifying the information submitted online for the online change of
address or renewal form? A: Again, the only verification that's done there is their log-in
credentials); 234:2-9 ("They're ... well, the only thing that they're changing is their address. But
they're they're verifying who they are through the authentication process that occurs up front
by providing key pieces of data, which is their.. . name, the driver-license number, date of birth,
the audit number that's on the card they currently hold, and the last four of their Social.")
(emphasis added); 224:12-14 (Q: What about an audit number, is that requested on paper forms?
A: No, it's not.). See also Stringer I docket no. 94-9, deposition of E. Hutchins, at 28:4-25; 30:4-
31:16; 33:8-34:1 (authentication of users on DPS ' s online process for driver's license renewal
and change of address is done in real-time). Compare Stringer I docket nos. 93-8 (in-person); 93-
9 (mail-in); and 93-10 (online).

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       A: From a technical standpoint?

       Q:   Yes.

       A: That's correct.

Stringer I docket no. 94-7, deposition of B. Schonhoff, at 222:9-22.

       And Mr. Ingram also testified:

       Q. Well.     . .   going back to the mail-in change of address with DPS, that information goes

       on to the Secretary of State. If someone chooses to register to vote, that signature is

       retrieved from DLS and sent on to the Secretary of State. Right?

       A: It's retrieved from wherever they keep it, yes.

       Q:   Okay. And, presumably, that same signature could be sent on if the person answered

       yes to the voter registration question online?

       A: If it was legal to do so. I've already told you I think that's technically possible. You

       bet.

       Q:   Okay.   And
       A: And I don't think it would cost a lot         of money.
                                                    *   *    *



       Q:   But the Secretary of State does know that DPS is able to pull the proper signature to

       send on for voter registration purposes to the Secretary of State for mail-in change of

       address forms?

       A: I'm not arguing with you that this is not possible. That is not my argument at all. My

       argument is exactly to the contrary. This is a very possible thing to do what you're saying

       if it was legal, and it's not legal..   .   So I'm not contesting the logistics   of it. We can agree

       that it's a possible thing to do.

Stringer I docket no. 77, appx. 45, deposition of K. Ingram at 184:12-185:1; 186:5-16. See           also



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Stringer I docket no. 94-9, deposition of E. Hutchins, at 99:22-100:2; Stringer I docket no. 94-10,

deposition of J. Crawford, at 142:6-18; 143:12-144:2 1 (DLS could send all the information it

currently obtains to the Secretary of State's office, and "it could also send the previously

provided electronic signature from that customer, just like it does with a mail-in change of

address").29   While feasible, Defendants refuse to use the voter information and technology

currently available because they claim the Texas Election Code does not allow the use of

previously captured electronic signatures for online transactions        even though they already use

them for mail-in and in-person transactions. Plaintiffs disagree with Defendants' legal argument

and assert that because SOS uses previously captured electronic signatures for voter registration

purposes in all other instances, there is no reason why Defendants cannot use those same

electronic signatures for online transactions.

B.      The NVRA

        The NVRA was enacted in 1993 pursuant to Congress's constitutional authority under the

Elections clause to "make or alter regulations" which have an effect upon federal elections. U.S.

CONST. art. 1, § 4, cl. 1. Specifically, Congress found    that

        (1) the right of citizens of the United States to vote is a fundamental right;

        (2) it is the duty of the Federal, State, and local governments to promote the exercise of

        that right; and

        (3) discriminatory and unfair registration laws and procedures can have a direct and

        damaging effect on voter participation in elections for Federal office and


          29When individuals submit a mail-in a change of address form, a DPS employee manually inputs
all of the responses into the DLS via computer, including the response to the question of whether he or
she would like to register to vote (Stringer I docket no. 77, appx. 120, RFA 23) and the stored electronic
signature is used. Thus, there is no real distinction in processing of online transactions and mail-in
transactions other than the physical signature on the mail-in form, which is not compared with the
electronic signature, not used for DPS purposes, and not forwarded to SOS for voter registration
purposes.

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        disproportionately harm voter participation by various groups, including racial minorities.

52 U.S.C.   §   20501(a)(1)-(3).

        The stated purposes of the Act are

        (1) to establish procedures that will increase the number of eligible citizens who register

       to vote in elections for Federal office;

        (2) to make it possible for Federal, State, and local governments to implement this

       chapter in a manner that enhances the participation of eligible citizens as voters in

        elections for Federal office;

       (3) to protect the integrity of the electoral process; and

        (4) to ensure that accurate and current voter registration rolls are maintained.

52 U.S.C.   §   2050 l(b)(l)-(4).

       Based on these findings and for these stated purposes, Congress imposed national

procedures for voter registration for elections for federal office as follows:

       (a) In general

       Except as provided in subsection (b), notwithstanding any other Federal or State law, in

       addition to any other method of voter registration provided for under State law, each State

       shall establish procedures to register to vote in elections for Federal office

       (1) by application made simultaneously with an application for a motor vehicle driver's

       license pursuant to section 20504 of this title;

       (2) by mail application pursuant to section 20505 of this title; and

       (3) by application in person

       (A) at the appropriate registration site designated with respect to the residence of the

       applicant in accordance with State law; and

       (B) at a Federal, State, or nongovernmental office designated under section 20506 of this


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       title.

52 U.S.C. § 20503 (emphasis added).

       Section 20504 specifically describes the requirements for a simultaneous application for

voter registration and motor vehicle driver's license:

       (a) In general

       (1) Each State motor vehicle driver's license application (including any renewal

       application) submitted to the appropriate State motor vehicle authority under State law

       shall serve as an application for voter registration with respect to elections for Federal

       office unless the applicant fails to sign the voter registration application.

       (2) An application for voter registration submitted under paragraph (1) shall be

       considered as updating any previous voter registration by the applicant.

                                                *   *    *



       (c) Forms and procedures

       (1) Each State shall include a voter registration application form for elections for Federal

       office as part ofan application for a State motor vehicle driver's license

       (2) The voter registration application portion of an application for a State motor vehicle

       driver's license

       (A) may not require any information that duplicates information required in the driver 's

       license portion of the form (other than a second signature or other information necessary

       under subparagraph (C));

       (B) may require only the minimum amount of information necessary to

       (i) prevent duplicate voter registrations; and

       (ii) enable State election officials to assess the eligibility of the applicant and to

       administer voter registration and other parts of the election process;


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          (C) shall include a statement that

          (i) states each eligibility requirement (including citizenship);

          (ii) contains an attestation that the applicant meets each such requirement; and

          (iii) requires the signature of the applicant, under penalty of perjury;

                                                     *    *   *



          (d) Change of address

          Any change of address form submitted in accordance with State law for purposes of a

          State motor vehicle driver's license shall serve as notification   ofchange of address for
          voter registration with respect to elections for Federal office for the registrant involved

          unless the registrant states on the form that the change of address is not for voter

          registration purposes.

52 U.S.C. § 20504 (emphasis added).

          Section 20506(a)(5)(C) further states that "A person who provides service.     . .   shall not

      "take any action the purpose or effect of which is to discourage the applicant from

registering to vote."

         And finally, Section 20510 provides civil enforcement by the Attorney General and a

private right of action for any person "who is aggrieved by a violation of this chapter," 52 U.S.C.

§   2051 0(a)-(b), and the "rights and remedies.. . are in addition to all other rights and remedies

provided by law," 52 U.S.C.     §   205 10(d).

         The notice provision in    §   205 10(b) further states:

         (1) A person who is aggrieved by a violation of this chapter may provide written notice of

         the violation to the chief election officials of the State involved.

         (2) If the violation is not corrected within 90 days after receipt of a notice under

         paragraph (1), or within 20 days after receipt of the notice if the violation occurred within


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        120 before the date   of an election for Federal office, the aggrieved person may bring a

        civil action in an appropriate district court for declaratory or injunctive relief with respect

        to the violation.

        (3) If the violation occurred within 30 days before the date of an election for Federal

        office, the aggrieved person need not provide notice to the chief election official of the

        State under paragraph (1) before bringing a civil action under paragraph (2).

52 U.S.C. § 205 10(b)(2)-(3).

        The NVRA expressly reminds us that "it is the duty of the Federal, State, and local

governments to promote the exercise of [the fundamental right to vote]." 52 U.S.C.       §

20501 (a)(2). And it is the duty of "Federal, State, and local governments to implement this

chapter. . .". 52 U.S.C. § 2050 1(b)(2). The State of Texas has combined state and federal voter

registration; thus, the ability to vote in state and local elections will be affected by any federal

violation in the registration process. See ACORNv. Miller, 129 F.3d 833, 837 (6th Cir. 1997)

(explaining that NVRA registration requirements will affect state and local elections). More

importantly, there is nothing in the NYRA stating that a voter must be disenfranchised in a

federal election before they can bring an enforcement action. In fact, nothing in the NVRA states

that a voter must be disenfranchised at all. See 52 U.S.C.    §   20510 (b)(1) ("A person who is

aggrieved by a violation of this chapter.   .


C.     Past arguments not raised herein

        1.     Sovereign immunity

       In Stringer I, Defendants asserted that Plaintiffs failed to validly invoke the NVRA' s

limited waiver of immunity and were not entitled to bring an action under the Ex parte Young

exception to immunity. Defendants have not invoked sovereign immunity in Stringer II, but the

Court addresses the issue in the event it is raised again at some juncture. The NVRA imposed


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voter registration requirements on the states to ensure that all practical barriers that make voter

registration more restrictive or inconvenient are removed. More than thirty years later, there are

states like Texas that still refuse to comply with its mandates. Congress's abrogation of immunity

under the NVRA is clear and unequivocal. When a state fails to comply with the Act, the Act

authorizes judicial intervention. The Attorney General can seek declaratory or injunctive relief,

and the Act establishes a private right of action for individuals aggrieved by a violation under the

Act. 52 U.S.C.   §   205 10(a)-(b), (d). Defendants have admitted that they "each play a part in

implementing the NVRA in Texas." Stringer I docket no. 82, p. 4. The Secretary of State is chief

election officer, and DPS is a voter registration agency. Id. As such, they may be sued in any

enforcement action arising from violations. The evidence clearly shows that Defendants have had

ample notice and opportunity to cure and come into compliance. Moreover, the Supreme Court

has long recognized Equal Protection claims of this nature against state officials tasked with

carrying out laws that affect the rights of voters. Crawford v. Marion County, 553 U.S. 181

(2008) (Equal Protection claim against the Indiana Secretary of State and others challenging state

voter ID law); Burdick v. Takishi, 504 U.S. 428 (1992) (voter's Equal Protection claim against

Hawaii Director of Elections and others challenging state write-in voting prohibition). Thus,

sovereign immunity is not an issue herein.

       2.        Renewal v. change of address

       In Stringer I, Defendants also alleged that Plaintiffs' challenge should be restricted to

online change of address transactions, not online renewal transactions, because Plaintiffs'

transactions were for a change of address rather than renewal. Again, this argument has not been

raised in Stringer II. As noted previously, however, this argument seems to go to the underlying

reason for the transaction, rather than the lawfulness of the process being challenged. Regardless

of whether a Texan seeks to change his address or renew his driver's license online, the process

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is the same and the outcome is the same. DPS uses the same website (Texas.gov) and the same

"Driver's License Renewal and Change of Address" system, which authenticates users, detects

eligibility, and processes data in the same manner for both renewals and changes of address.

Stringer I docket no. 94-9, deposition of E. Hutchins, at 30:4-31:16; 33:8-34:1; Stringer I docket

no. 94-12, deposition of S. Gipson, at 37:10-16 (the process is combined online, "it's one system

interface"); Stringer I docket no. 93, website links and exh. A-i, A-2, A-10 (DPS!Driver' s

License Division online process for driver's license renewal and/or change of address). Neither

type of transaction, using the same online process, allows simultaneous applications for voter

registration as required by the NVRA. Stringer I docket no. 94-12, deposition of S. Gipson, at

37:10-40:5. Given that Defendants have chosen to combine the online process and use the same

system for both change of address and renewal transactions, a change in programming to allow

online simultaneous voter registration would mean a change for both types of transactions.

Likewise, an NVRA violation in online change of address transactions imputes a violation in

online renewal transactions because Defendants admit that the online process (which

encompasses both) does not allow simultaneous voter registration. Having combined the online

process for both types of transactions, both types of transactions fall within the same mandates

under 52 U.S.C.   §   20503(a)(1) and 20504 and will be affected by any relief granted herein.

Accord Miller, 129 F.3d at 837 (the State chose, as a matter    of convenience, to implement one

voter registration process for federal, state, and local elections; thus, the registration obligations

imposed by the Act affect registration procedures associated with state and local elections). For

these reasons, the real issue is whether DPS' s online process for driver's license renewal and

change of address violates the NYRA by failing to allow simultaneous applications for voter

registration.
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D.         Plaintiffs are likely to succeed on the merits of their NYRA claims

           Plaintiffs' NVRA claims have not changed since Stringer I. First, Plaintiffs contend

Defendants have violated and continue to violate the NVRA by failing to provide simultaneous

applications for voter registration during online driver's license transactions. Second, Plaintiffs

contend Defendants have violated and continue to violate the NVRA by requiring persons who

use the online process to take additional steps to update their voter registration and separately

submit information through a different transaction with a different agency that duplicates

information required in the driver's license transaction. And third, Plaintiffs allege that

Defendants have violated the NVRA by failing to ensure eligible applicants are registered to vote

and to transmit voter registration information submitted online to the appropriate State election

official within the statutorily required time frame.

           1.      Statutory interpretation

           In Stringer I, the parties disagreed on the meaning of some of the applicable provisions in

the NVRA. Assuming their positions remain unchanged, the Court reviews the governing

principles of statutory construction. The first step is to determine whether the statutory text, when

considered in context, is plain and unambiguous. If the statutory language is plain, the Court

must enforce it according to its terms. King    v.   Burwell, 135 S.Ct. 2480, 2489 (2015) (citing

Hardt   v.   Reliance Standard Life Ins. Co., 560 U.S. 242, 251 (2010)). "[O]ftentimes the "meaning

  or ambiguity      of certain words may only become evident when placed in context." Id. (citing

FDA   v.   Brown & Williamson Tobacco Corp., 529 U.S. 120, 132 (2000)). "So when deciding

whether the language is plain, we must read the words 'in their context and with a view to their

place in the overall statutory scheme." Id. (quoting, in part, Brown & Williamson, 529 U.S. at

133). "Our duty, after all, is 'to construe statutes, not isolated provisions." Id. (quoting, in part,

Graham County Soil and Water Conservation Dist.            v.   United States ex rel. Wilson, 559 U.S. 280,


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290 (2010)). "A provision that may seem ambiguous in isolation is often clarified by the

remainder of the statutory scheme.. . because only one of the permissible meanings produces a

substantive effect that is compatible with the rest of the law." King v. Burwell, 135 S .Ct. at 2492

(quoting United Say. Assn. of Tex   v.   Timbers ofInwood Forest Associates, Ltd., 484 U.S. 365,

371(1988)). The Court cannot interpret a federal statute in a manner that negates its own stated

purpose. See id. at 2495; see also New York State Dept. of Social Servs.    v.   Dublino, 413 U.S.

405, 419-20 (1973).

       2.      The NVRA applies to motor voter transactions conducted online

       The requirements in the NVRA clearly apply to online transactions (also known as

electronic, remote, or internet transactions). There is nothing in the statute that expressly or

impliedly excludes online transactions; instead, the plain language of the NVRA indicates that it

applies to all transactions. See 52 U.S.C.   §   20504 (a)(1) ("Each State motor vehicle driver's

license application. . .") and (d) ("any change of address form. . .") (emphasis added).

Numerous courts have determined that the NVRA applies to online or remote transactions with

the same force as it applies to in person and mail transactions. See, e.g, Action NC v. Strach, 216

F.Supp. 3d 597, 622-23 (M.D.N.C. 2016) ("[the] words 'each' and 'any' as used in NVRA

provision requiring that each state motor vehicle driver's license application serve as application

for voter registration and that any change of address form submitted shall serve as notification of

change of address for voter registration were unambiguous and reflected Congress' intent to

make the NVRA applicable to 'each' and 'every' covered transaction, irrespective of whether the

transaction occurred remotely or in person"); Kemp, 841 F. Supp. 2d at 133 1-32 (explaining that

the NVRA cannot be read to cover only in-person transactions and Georgia's limited

interpretation and implementation that excluded internet transactions conflicted with its

acknowledgment that noncompliance likely led to decline in voter registration as more applicants


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prefer to apply remotely).

         Defendants have not argued that the NVRA does not apply to online or remote

transactions. In fact, they have admitted that compliance with the NVRA is required for online

transactions. See Stringer I docket no. 77, appx. 65, deposition of S. Gipson (DPS), at 94:5-12

(Q:   Why does DPS include a voter registration question during the online renewal and change of

address portion? A: So it is part of the plan between the Secretary of State and Department of

Public Safety in compliance with the voter registration question being combined as part of the

application process for a diver license or ID"); 95:5-15 (Q: What requires you to do that? A:

basically the NVRA and Chapter 20 of the Election Code and Texas Statute.); Stringer I docket

no. 94-8, deposition of S. Gipson at 136:20-23 (Q: Why does DPS require customers to answer

that question if they don't even retain the answer? A: The      because we need to offer them the

availability of the application); Stringer I docket no. 94-11, deposition of K. Ingram (SOS), at

62:4-8 (Q: Why is there a voter registration question on the online DPS transaction

application?.. . A: Well, I imagine it's because of Section 5 of the National Voter Registration

Act of 1993.   Q:   Could you elaborate on that a little bit? A: Sure. The National Voter Registration

Act of 1993 required that motor vehicle agencies, in our case the DPS, whenever a person has a

driver's license transaction driver's license transaction, that they should be simultaneously

offered the right the ability to update their voter registration or register to vote for the first time.

That's why the NVRA is called the Motor Voter law."). Yet Defendants' compliance with the

NVRA falls short when it comes to online transactions. Texans have repeatedly complained

about DPS's failure to process voter registration information through its online system, but

Defendants have refused to correct the deficiencies. Thus, rather than furthering the purpose of

the NVRA by "establish[ing] procedures that will increase the number of eligible citizens who



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register to   vote,"30   the State is thwarting the efforts of Texans who wish to register to vote.

        3.        The "simultaneous application" requirement

        Congress was not subtle about requiring DPS, a voter registration agency, to provide a

simultaneous application for voter registration. The terms are used more than once in the statute,

and its plain meaning is clear and unambiguous. Section 20503, titled "National procedures for

voter registration for elections for Federal office," directs that "each State shall establish

procedures to register to vote.         . .   by application made simultaneously with an application for a

motor vehicle driver's license." 52 U.S.C.                  §   20503(a)(l). Defendants do not dispute the meaning

of "simultaneous," which is defined as "existing or occurring at the same time; exactly

coincident,"31   or "happening or being done at exactly the same time,"32 or "occurring, operating,

or done at the same          time."33


        Section 20504, titled "Simultaneous application for voter registration and application for

motor vehicle driver's license" explains this requirement as one simultaneous application form

that serves dual purposes           driver's license and voter registration. This section, when read in

context, not only requires that the applications be simultaneous, but discusseS them in terms of a

single transaction. Under subsection (a), each State motor vehicle driver's license application

"(including any renewal application).              .   .   shall serve as an applicationfor voter registration"

and "[a]n application for voter registration.                   . .   shall be considered as updating any previous

voter registration by the applicant." Under subsection (c), "[e]ach State shall include a voter




        °52 U.S.C.       §   20501(b)(1)

       31https://www.merriam-webster.com/dictionary/simultaneous

       32https://dictionary.cambridge.orglus/dictionary/english/simultaneous

       33https://en.oxforddictionaries.comidefinitionlsimultaneous

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registration application form.       . .   as part of an application for a State motor vehicle driver's

license," and the "voter registration application portion of an application for a State motor

vehicle driver's license.   . .   may not require any information that duplicates information required

in the driver's license portion of the form." 52 U.S.C.             §   20504(a),(c). Under subsection (d),

"[a]ny change of address form".            . .   for purposes of a State motor vehicle driver's license shall

serve as notification ofchange of address for voter registration.               .   .   unless the registrant states on

the form that the change of address is not for voter registration purposes." 52 U.S.C.                    §   20504(d).

        In Stringer I, Defendants seemed to have a clear understanding of what the statute

requires, yet they distorted the statutory language in the interpretations they proposed. For

example, Mr. Ingram with SOS testified that "the NVRA requires a simultaneous opportunity to

register to vote." See Stringer I docket no. 77, appx. 40, deposition of K. Ingram, at 63:15-16;

64:24-25; see also appx. 113, RFA no. 4 (inserted the word "opportunity" when asked to admit

their legal obligations under the NVRA). In Stringer I, defense counsel used the same

"simultaneous opportunity" argument in their briefs. But the NVRA plainly and unequivocally

requires DPS, a voter registration agency, to provide a simultaneous application                      not merely a

"simultaneous opportunity" to go through a second duplicate application process with SOS.

"Opportunity" could mean many things, but we do not need to speculate about what it means

because the NVRA does not use that term. Likewise, Ms. Gipson testified that DPS "need[s] to

offer them the availability of the application." Stringer I docket no. 94-8, deposition of S.

Gipson, at 136:20-23. But the NYRA requires more than simply making voter registration

applications "available." Again, making applications "available" could mean many things but the

NVRA does not use that term. The operative terms in the NYRA are much more commanding

and specific: it clearly and unequivocally requires a "simultaneous application" with DPS (the

voter registration agency), not a mere "opportunity" to go through a wholly separate, non-

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simultaneous application process with SOS. If the Court were to accept the argument that DPS

can simply direct Texans to SOS to obtain, fill out, sign, and mail in or deliver in person a wholly

separate voter registration form, the language        in   the NVRA would be rendered meaningless.

Plaintiffs have been correct in their assertion that this central fact has never been disputed: when

eligible Texans update their driver's licenses online with DPS, they are not provided a

simultaneous application to register to vote or update their voter registration information. The

NVRA' s requirement that DPS, a voter registration agency, provide a simultaneous application

for both driver's license and voter registration purposes is plain and unambiguous and the facts in

the record confirm that Texans are being deprived of this statutory right. Stringer I docket no. 77,

appx. 118, admission no. 8 (Defendants admit that now when applicants reach Step             5   of the
online process, they are asked "Do you want to request a voter application?"); admission no.              11

(Defendants admit that if an eligible voter checks "yes" under the question "Do you want to

request a voter application?," they are not registered to       vote.. . unless they submit an image of
their signature, either by submitting a signed application by mail, or providing an electronic

image of their physical signature     in person   at a DPS location) (emphasis added); appx. 121,

admission no. 9 (Defendants admit that a "Yes" answer during an online transaction is never

entered as a response in the Voter Field for purposes of forwarding the information to SOS);

appx. 123, admission nos. 21, 23 (Defendants admit that when an eligible voter who updates his

or her driver's license information on the current DPS website responds "yes" under the

statement "Request a voter registration application," DPS does not transfer his or her data to

SOS); appx. 96, admission no. 8 (Defendants admit that an eligible voter who changes the

address on her non-commercial Texas driver's license online must submit a signed voter

registration application   in   person or by   mail in order for his voter registration information to be

updated. The DPS and Texas.gov online interface links such voters to an application they may
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print out, sign, and mail, and also gives such voters the option to request that a voter registration

application be mailed to them, postage paid, and contains language indicating that the separate

form must be filled out in order to complete the voter's registration) (emphasis added); appx. 98,

admission no. 12 (information voters submit to the DPS change of address online portal relating

to voter registration is not transmitted to SOS); see also Stringer I docket no. 77, appx. 33, DPS

Voter Inquiry Web Portal (informing the public that online registration is not possible, and

persons seeking voter registration must print, sign, and deliver the application to the voter

registrar in their county); appx. 133, driver's license renewal and change of address receipt

(showing that a separate voter registration application may be requested). Thus, it is clear that

Defendants are violating 52 U.S.C.   §   20503 and 20504 by failing to comply with the

simultaneous application requirement.

        4.      The duplicate information prohibition

        To further the simultaneous application requirement, Congress saw fit to prohibit the

states from requiring duplicate information. The prohibition against duplicate information is

plain and unambiguous, leaving no room for argument as to its meaning. Section 20504(c)(2)(A)

clearly states that "{tjhe voter registration application portion of an application for a State motor

vehicle driver's license may not require any information that duplicates information required in

the driver's license portion of the form." This prohibition reinforces the simultaneous application

requirement because an application that is truly simultaneous does not require duplication. On

the other hand, any process that requires duplication of information is an indication that the voter

registration "portion" of an application for a State motor vehicle driver's license is not truly

simultaneous. The NVRA does permit states to seek a "minimum amount" of additional

information that may be necessary for "State election officials to assess the eligibility of the

applicant" for voter registration purposes. 52   §   20504 (c)(2)(B),(C). But the minimum

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information necessary to verify voter registration eligibility cannot duplicate the information

already provided for driver's license purposes. For example, some states do not require

citizenship to obtain a driver's license, so those states could include a citizenship question in the

voter registration portion of the application without violating the duplicate information

prohibition. But Texas DPS requires an applicant to answer a citizenship question for driver's

license purposes; thus, another duplicate question about citizenship for voter registration

purposes would violate this prohibition.

        Defendants' violation of the duplicate information prohibition is indisputable, and has

continued unabated. Defendants admit that none of the information in the online application for

driver's license renewal or change of address is used for voter registration purposes. At the end

of the DPS transaction, a "yes" answer does not mean that the information already provided will

be used for voter registration purposes pursuant to the NVRA. Instead, the DPS transaction ends,

none of the information already provided is forwarded to SOS, and the user is directed to SOS

for an entirely separate voter registration application that requires the same information already

provided to DPS in the driver's license transaction. It is a separate and distinct transaction with a

separate office (SOS) which requires a separate and distinct application with duplicate

information. Stringer I docket no. 77, appx. 96, admission no. 8 (Defendants admit that upon

completion of the DPS transaction, a voter must follow the link to SOS and then "request that a

voter registration be mailed to them.   . .   and [the portal] contains language indicating that the

separate form must be filled out in order to complete the voter's registration"); appx. 132 (change

of address transaction informs users that their DPS transaction does not register them to vote and

they must follow link to SOS website where a separate voter application form can be downloaded

or requested); appx. 134 (separate voter registration application provided by SOS that must be

printed, signed, and mailed); Stringer I docket no. 93, exh. A-3 (same); exh. A-4 (SOS

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information page explaining: a) voter registration application forms can be accessed online

through SOS (not DPS, the voter registration agency); b) the application can be filled out on the

computer, printed, and mailed to the voter registrar in the voter's county of residence; and c)

informing voters that they will not be registered until all steps are completed); Stringer I docket

no. 94-12, deposition of S. Gipson, at 218:2-219:16 (explaining that at end of DPS transaction,

the customer is directed to SOS if he wants to register to vote or update his voter registration

information).

        In Texas, DPS requires applicants seeking a renewal and/or change of address to provide

several pieces of information, including their name, address, driver's license number, date of

birth, and the last four digits of their Social Security number. Stringer I docket no. 94-8,

deposition of S. Gipson, at 234:2-9; Stringer I docket no. 94-9, deposition of E. Hutchins, at

25:11-22; Stringer I docket no. 77, appx. 130. When customers finish their transaction with DPS

and then go to SOS to fill out a completely separate application for voter registration purposes,

they must provide the same information : name, address, driver's license number, date of birth,

and the last four digits of their Social Security number. Stringer I docket no. 77, appx. 134 (voter

registration application); Stringer I docket no. 94-7, deposition of B. Schonhoff, at 157:19-

158:18 (both the DPS change of address form and SOS voter registration form ask the person's

name, date of birth, and address; applicants would have to fill this information out twice).

Requiring motor voters to go to a different agency (SOS) to obtain and fill out a separate

application that requires the same information violates the prohibition against duplicate

information set forth in 52 U.S.C.   §   20504(c).

       5.       The timely submission requirement

       The NYRA also requires that "a completed voter registration portion of an application for
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a State motor vehicle driver's license accepted at a State motor vehicle authority shall be

transmitted to the appropriate State elections official not later than 10 days after the date of

acceptance." 52 U.S.C.   §   20504(e)(1). The deadline for transmittal is shorter (five days) if the

voter registration application is accepted within five days before the last day for registration to

vote in an election. 52 U.S.C. § 20504(e)(2). Because the evidence in the record shows that DPS

does not provide simultaneous voter registration as part of the online driver's license renewal and

change of address process, DPS does not transmit to SOS any voter registration information in

connection with such transactions. In fact, it is undisputed that DPS does not even record, and

therefore cannot transmit, responses to the voter registration question in the online driver's

license renewal and change of address application. Stringer I docket no. 94-8, deposition of S.

Gipson at 136:10-19; Stringer I docket no. 77, appx. 67, deposition of S. Gipson at 102:10-

19:103:16-25; Stringer I docket no. 94-7, deposition of B. Schonhoff at 159:23-160:3; 220:18-23.

       As a voter registration agency, DPS has a statutory duty to provide motor voters with

simultaneous voter registration applications and transmit the applications to SOS within 10 days

after acceptance. DPS admits it does not submit voter registration information to SOS for online

transactions conducted by motor voters "[b}ecause [theyl have not been advised by the Secretary

of State that providing that through the online process is permissible at this point." Stringer I

docket no. 77, appx. 67, deposition of S. Gipson at 103:16-25. The NVRA's timely submission

requirement continues to be violated in every online renewal and change of address transaction.

       6.      State law must yield to federal law

       The uncontested facts in the record lead to only one conclusion: DPS, a voter registration

agency, does not provide a simultaneous voter registration application to individuals who engage

in online driver's license transactions. Instead, motor voters are simply directed to SOS, which



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requires them to fill out a completely separate voter registration application with duplicate

information, and then print, mail, and/or hand deliver it to the voter registrar. But Defendants

have refused to change their practice, claiming that Texas election law does not allow the

procedure dictated by the NVRA. This argument is fatally flawed.

        Defendants have claimed that the NVRA incorporates Texas election law, making it

subject to state law, and rely on the following provisions:

        (a)         In general

                     (1)    Each State motor vehicle driver's license application (including any

                            renewal application) submitted to the appropriate State motor vehicle

                            authority under State law shall serve as an application for voter

                            registration.

                                                      *   *    *



                    (d)     Change of address

                    Any change ofaddress form submitted in accordance with State law for purposes

                    of a State   motor vehicle driver 's license shall serve as notification of change of

                    address for voter registration.

52 U.S.C.     §   20504(a)(l), (d).

       These provisions neither incorporate Texas election law nor make it subject thereto.

Instead, the plain language of these provisions, when considered in context and with a view to

their place in the overall statutory scheme, simply mean that driver's license applications

submitted in accordance with state driver's license laws, i.e., the Texas Transportation Code,

shall also serve as applications for voter registration purposes. The reference to state law in these

provisions cannot be interpreted to mean the NVRA is dictated by the election laws of 50



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different states, as it would be contrary to the plain language of the statute, require the Court to

take it out of context, and render the NVRA entirely meaningless. The NVRA was enacted under

the Elections clause, U.S. Const. Art. I § 4, ci. 1, which gives Congress the broad power to

preempt, alter, and supplant state law when it comes to federal voter registration practices.

Arizona      v.   InterTribal County ofArizona, Inc., 570 U.S.   1, 133 S. Ct.   2247, 2253-57 (2013).

("The Clause's substantive scope is broad" and "Elections Clause legislation, so far as it extends

and conflicts with the regulations of the State, necessarily supersedes them"). To the extent state

voter registration procedures are inconsistent with the NVRA, they are superseded. Id. at 2253-54

("the state law, so far as the conflict extends, ceases to be operative"). On the other hand, the

NVRA does not supplant state driver's license laws. Thus, interpreting the provisions in 52

U.S.C.   §   20504(a)(1) and (d) to mean that driver's license applications submitted in accordance

with the Texas Transportation Code shall also serve as applications for voter registration

purposes is consistent with the purpose of the Act and the entire statutory scheme.

         Defendants have consistently argued that DPS, the voter registration agency tasked with

carrying out the mandates of the NVRA, cannot provide individuals with simultaneous driver's

license - voter registration applications because Texas election law requires a physical signature

or "wet signature." In other words, Defendants claim that a physical signature written by hand is

necessary to comply with Texas election law; therefore, although online driver's license

transactions are legally valid, a simultaneous voter registration application would be legally

invalid. Again, this argument is flawed for several reasons.

         First, Texas law cannot be used as an excuse for failing to comply with the NYRA. To the

extent it is inconsistent with the NYRA, the Texas Election Code must yield to the NVRA.

Moreover, Defendants have simply cherry-picked the provisions they believe justify their



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continued noncompliance. Defendants believe sections 13.002(b) and 15.02 1(a) of the Texas

Election Code (requiring an application to be "signed") support their position,34 but they ignore

section 20.062 (requiring DPS to use a form and procedure that combines driver's license!

renewal/change of address with voter registration), which does not support their position.35

Defendants' reliance on Texas election law as an excuse for federal noncompliance is misplaced

because it is preempted, altered, and supplanted by the mandates in the NVRA. But even if Texas

election law was not preempted, there is nothing in the law that precludes the use of electronic

signatures.

        Second, the NVRA does state that a simultaneous driver's license-voter registration

application and any renewal application "requires the signature of the applicant."      See   52 U.S.C.   §

20504(a)( 1), (c)(2)(C)(iii). The NVRA's change of address provision is separate, and does not

state that a signature is necessary for a simultaneous driver's license-voter registration change of

address. 52 U.S.C.   §   20504(d). But even in renewal transactions that require a signature, neither

the NVRA nor Texas election law defines or limits the type of signature that is required for voter

registration renewal or change of address applications, and Defendants cite no authority for the

proposition that it must be a physical ink or wet signature written on paper by hand. With twenty-

first century technology and legislation such as the Global and National Commerce Act (E-Sign

Act) and Uniform Electronic Transactions Act (UETA), electronic signatures are legally




       34Stringer I docket no. 94-11, deposition of K. Ingram, at 97:15-24; docket no. 77, appx. 42 (Q:
What portion of the law doesn't allow it? A: 13.002(b)).

       35Section 20.062(a) states: The Department of Public Safety shall prescribe and use a form and
procedure that combines the department's application form for a license or card with an officially
prescribed voter registration application form. Section 20.062(b) states: The department shall prescribe
and use a change of address form and procedure that combines department and voter registration
functions. The form must allow a licensee or cardholder to indicate whether the change of address is also
to be used for voter registration purposes.

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recognized and widely used. 15 U.S.C.             §   7001 et. seq.; Unif. Electronic Transactions Act, U.L.A.

(1999). Under the Uniform Electronic Transactions Act, which has been adopted by Texas and

46 other states, the medium in which a signature is created, presented or retained does not affect

its legal significance.   See   UETA      §   7; Tex. Bus. & Corn. Code Ann. § 322.007(a),(c),(d) (Vernon

2015) (TUETA). As these provisions explain:

        (a)     A record or signature may not be denied legal effect or enforceability solely

                because it is in electronic form.

        (c)     If a law requires a record to be in writing, an electronic record satisfies the law.

        (d)     If a law requires a signature, an electronic signature satisfies the law.

Interpreting the signature requirement in the NVRA to include electronic signatures is consistent

with the purpose of the Act and the overall statutory scheme. Accord Kemp, 208 F. Supp. 3d at

1335-36 (Georgia SOS argued that the "records" requirement in the NVRA was limited to

physical records; the court determined that the requirement includes electronic records). Mr.

Ingram, the 30(b)(6) representative for SOS, admits that an electronic signature complies with

the signatures requirements under the N\TRA. Stringer I docket no. 77, appx. 40, deposition of K.

Ingram at 62:18-63:1 ("DPS' s compliance with [the NVRA] for in-person transactions is

[satisfied by] the question.     . .   on the DPS forms, 'Do you want to register to vote? I've agreed to

provide my electronic signature, and it can be sent to the Secretary of State's Office."). If an

electronic signature is legally sufficient under the NVRA for paper transactions, it is legally

sufficient for online transactions. The NVRA established procedures to remove barriers to voter

registration, to make the process easier and more convenient, and to increase voter participation.

Interpreting the "signature" requirement to allow only physical, manual, or wet ink signatures

written by hand on paper would be inconsistent with the plain language of the NVRA and the



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entire statutory scheme. And while Defendants continue to rely on Texas election law as a excuse

for noncompliance with the NVRA, there is nothing in Texas law that precludes the use of

electronic records and electronic signatures. On the contrary, Texas law permits SOS and DPS to

accept electronic records and electronic signatures. See Tex. Bus. & Corn. Code           §   322.017 (each

state agency has the option to accept electronic records and electronic       signatures);36   Tex. Bus. &

Corn. Code § 322.007 ("If a law requires a signature, an electronic signature satisfies the         law.").37


And it is undisputed that Texas is already using voter registration signatures in electronic form.

See Tex.   Election Code § 20.066 (for in person and mail transactions, the information provided is

input "into the department's electronic data system"; the applicant is informed "that the

applicant's electronic signature" will be used; and the department "electronically transfer[s] the

applicant's voter registration data, including the applicant's [electronic] signature, to the

secretary of state");   1   Tex. Admin. Code   §   81.58 (allowing a voter's signature to be captured by

an electronic device for the signature roster). Defendants provide no legal justification for failing

to comply with the NVRA when it comes to online renewal and change of address transactions.

        Finally, Plaintiffs are not asserting that all signature requirements be tossed out or

ignored. Instead, they are asserting that Defendants already retain electronic signatures for every



        36AS Eiten Hersh (an expert in Stringer I) noted, the refusal to accept electronic signatures
appears to have been a state policy decision. See Stringer I docket no. 94-13, deposition of E. Hersh, at
12 1:23-122:25. But state policy like state law must yield to the mandatory requirements under the
NVRA.

         37See also Tex. Bus. & Com. Code § 322.008(a) ("If parties have agreed to conduct a transaction
by electronic means and a law requires a person to provide, send, or deliver information in writing to
another person, the requirement is satisfied if the information is provided, sent, or delivered, as the case
may be, in an electronic record. . ."); Tex. Bus. & Corn. Code § 322.0 12 ("if a law requires that a record
be retained, the requirement is satisfied by retaining an electronic record"); Tex. Govt Code § 2054.060
("digital signature may be used to authenticate a written electronic communication sent to a state
agency"); 1 Tex. Admin. Code § 203.24 (describing technology that may be acceptable for use by state
agencies).


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licensed motor voter in Texas and currently use those electronic signatures for both driver's

license and voter registration purposes; thus, there is no reason for refusing to use those same

signatures for online renewal and change of address transactions.        See   Stringer I docket no. 77,

appx. 39, 42, deposition of K. Ingram at 50:1-11; 95:14-97:14; Stringer I docket no. 77, appx. 69,

70, 79, deposition of S. Gipson at 203:19-204:7; 215:21-216:7; 234:21-235:1; 236:19-237:9.

Even when a signature is required, that requirement may be satisfied with the electronic signature

that is on file for every Texas motor voter.38 There is no legal impediment to using electronic

signatures, and there is no technological barrier to online transactions that allow simultaneous

renewal and change of address for driver's license and voter registration.        See   Stringer I docket

no. 94-7, deposition of B. Schonhoff, at 222:9-22; Stringer I docket no. 77, appx. 45, deposition

of K. Ingram at 184:12-185:1; 186:5-16; Stringer I docket no. 94-9, deposition of E. Hutchins at

99:22-100:2; Stringerl docket no. 94-10, deposition of J. Crawford at 142:6-18; 143:12-144:21

(DLS could send all the information it currently obtains to the Secretary of State's office, and "it

could also send the previously provided electronic signature from that customer, just like it does

with a mail-in change of address"); Stringer I docket no. 94-13, deposition of Eitan Hersh at

34:20-23 ("my opinion is that there are no obvious substantial technical reasons why Texas does

not do that or financial situations why Texas does not do that"); 110:6-111:13 (.         . .   "it [could]

transmit, just as it does now for mail and in-person transactions, the previously-recorded digital

signature of the voter because everyone who is renewing or changing their address online has a

digital signature stored at the DPS"); 115:15-25 (38 other states have an online process for voter

registration).


         38Because every Texan must provide an electronic signature when they obtain their original
driver's license, and the online process only involves the renewal of an existing driver's license or a
change of address on an existing driver's license, it is undisputed that the State of Texas already has
preexisting electronic signatures for every individual that uses the online system.

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E.      Plaintiffs are likely to succeed on the merits of the Fourteenth Amendment claim

        Plaintiffs also assert that Defendants' refusal to provide voter registration applications

simultaneously with online driver's license renewal and change of address transactions

constitutes a violation of their Equal Protection rights under the Fourteenth Amendment.39 The

right to vote is a fundamental right protected under the Equal Protection Clause of the Fourteenth

Amendment. Harper v.      Va.   State Bd. ofElections, 383 U.S. 663, 670 (1966). "The right to vote

is protected in more than the initial allocation of the franchise. Equal protection applies as well to

the manner of its exercise." Bush v. Gore, 531 U.S. 98, 104 (2000) (per curiam). The Equal

Protection Clause applies when state procedures restrict voters' rights. Bush v. Gore, 531 U.S. at

103 (Supreme Court found that Florida's failure to institute reliable recount procedures violated

the Equal Protection Clause); Obama for Am.       v.   Husted, 697 F.3d 423, 436-37 (6th Cir. 2012)

(Circuit court found that Ohio law that prevented casting of early ballots by non-military voters

violated the Equal Protection Clause).

                Applicable standard

        Although Defendants have not disputed the applicable standard in Stringer II, the Stringer

I parties did not agree on the applicable standard     of review. The Court must review the merits in

determining preliminary injunctive relief, so it addresses the issue again. In Stringer I, the

plaintiffs asserted that the Anderson-Burdick4° standard applies (Stringer I docket no. 77, pp. 19-

23; Stringer I docket no. 85, pp. 16-17), while Defendants asserted that an Arlington     Heights41




       39"The rights and remedies established by [the NVRA] are in addition to all other rights and
remedies provided by law." 52 U.S.C. § 205 1O(d)(1).

        40Anderson v. Celebrezze, 460 U.S. 780 (1983) and Burdick v. Takushi, 504 U.S. 428 (1992).

        41Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252 (1977).



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strict scrutiny analysis or City ofCleburne42 heightened scrutiny analysis applies (Stringer I

docket no. 82, p. 24; Stringer I docket no. 88, pp. 19-20). Because this case involves a challenge

to a state voter registration procedure that is alleged to unfairly restrict the right to vote and harm

voter participation, the more flexible Anderson-Burdick standard applies. Burdick v. Tukushi, 504

U.S. 428, 433 (1992) ("to subject every voting regulation to strict scrutiny and to require that the

regulation be narrowly tailored to advance a compelling state interest, as petitioner suggests,

would tie the hands of States seeking to assure that elections are operated equitably and

efficiently").43   Under this standard, "[a] court considering a challenge to a state election law

must weigh the character and magnitude of the asserted injury to the rights protected by the

[Constitution] that the plaintiff seeks to vindicate against the precise interests put forward by the

State as justification for the burden imposed by its rule, taking into consideration the extent to

which those interests make it necessary to burden the plaintiffs rights." Burdick, 504 U.S. at 434

(internal quotes omitted). "However slight the burden [to the voters] may appear,.         . .   it must be

justified by relevant and legitimate state interests sufficiently weighty to justify the limitation."

Crawfordv. Marion Cty. Elec. Bd., 553 U.S. 181, 191 (2008).

        2.         Analysis

        "[V]oting is of the most fundamental significance under our constitutional structure,"




        42Ciiy of Cleburne, Texas v. Cleburne Living Center, 473 U.S. 432 (1985).

         43See also Voting for Am., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013) (Fifth Circuit applied
Anderson-Burdick analysis in challenge to state law regulating volunteer deputy registrars); Tex.
Democratic Party v. Williams, 285 Fed. Appx. 194, 195 (5th Cir. 2008) (per curiam) (noting that district
court properly applied A nderson-Burdick balancing test to the constitutional claims challenging use of
eSlate voting machines), cert. denied, 555 U.S. 1100 (2009); Faas v. Cascos, 225 F. Supp. 3d 604, 610
(S.D. Tex. 2016) (State election laws "could hardly serve their legitimate purposes if they were routinely
subject to strict scrutiny. . . [thus], [t]he United States Supreme Court recognized the need for a more
flexible analytical framework in two landmark cases: Anderson and Burdick").


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Burdick, 504 U.S.   at   433,   and unfair registration procedures can have a direct and damaging

effect on voter participation. See     52 U.S.C. § 2050 1(a)(3)   (Congressional findings). While the

State can impose reasonable restrictions, those restrictions must be justified by specific interests

that outweigh the burden on voters. It is undisputed that Defendants permit simultaneous voter

applications for persons that renew or change their driver's license in person or by mail, but

refuse simultaneous voter applications for persons that renew or change their driver's license

online. Persons who renew or change their driver's license in person or by mail need only check

a single box indicating that he would like to register or update his voter information. After

checking the box on the driver's license form, no further steps are necessary. DPS sends the

updated information to SOS in nightly batches, so the voter registration is updated timely and

efficiently. However, persons who renew or change their driver's license online are denied the

same process. They first go through the steps to renew or change the address on their license

online, then must end their DPS driver's license transaction before going to SOS to obtain, print,

and complete a separate voter registration application which requires duplicate information. Once

the additional application is complete, it must be mailed or hand delivered. DPS, a voter

registration agency, maintains a procedure that accepts simultaneous voter registration

applications for some, while rejecting them for others. This type of restriction on voter

registration imposes a burden on the fundamental right to vote that warrants the demonstration of

a corresponding interest sufficiently weighty to justify the limitation.

       Defendants' only justification for the voter registration burden imposed on motors voters

is the "signature" requirement under Texas election law. However, neither federal nor state law

limits the signature requirement to physical hand written signatures on paper (or "wet

signatures"). Electronic signatures and electronic records are legally recognized and widely used,



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even by Defendants,    and Defendants offer no reason for refusing to accept them for online

transactions. DPS already uses electronic records and previously imaged electronic signatures for

every Texan that uses the online system for driver's license renewal or change of address.44 And

SOS already uses electronic records and previously imaged electronic signatures for voter

registration purposes and admits that electronic signatures comply with signature requirements

under the NVRA and Texas Election        Code.45   SOS admits it never uses physical, manual, or wet

ink handwritten signatures on paper for voter registration purposes.46 DPS already has, in its

possession and control, an electronic signature of every motor voter that has been issued a

license. With motor voters' electronic signatures already in the voter registration agency's

possession, there is no reason why Defendants cannot use them in an online driver's license-voter

registration transaction when it already uses them in mail and in-person transactions.

        Neither the law nor the facts support Defendants' alleged justification for limiting

simultaneous voter applications to in-person and mail transactions and refusing simultaneous

voter applications for persons that renew or change their driver's license online. Because the


         44Stringer I docket no. 77, appx. 70, deposition of S. Gipson at 215:21-216:7 (for online
transactions, Texas has decided that a previously captured electronic signature is sufficient for driver's
license purposes, but they refuse to accept the same signature for voter registration purposes); Stringer I
Stipulation no. 11 ("The signature that appears on the license generated as a result of a customer's online
driver's license renewal or change of address transaction is an image of the applicant's physical
signature, electronically captured during the applicant's most recent in-person transaction").

        45Stringer I docket no. 77, appx. 39-40, 42, K. Ingram deposition at 50:1-6; 62:4-63:1; 97:4-14.

         46Stringer I docket no. 77, appx. 39, K. Ingram deposition at 50:7-11 (Q: What's the ink signature
on the DPS's physical form used for as far as voter registration? A: I don't know. I don't know if it's
used for anything. Once they've applied in person at the office, they've signed it electronically");
Stringer I docket no. 77, appx. 117, RFA 26 ("Admits that the information DPS transmits to SOS about
each applicant for voter registration includes a digital image of the applicant's signature"); Stringer I
docket no. 77, appx. 122, RFA 13 (Defendants admit that prior to transmission to SOS, the DPS
computer system locates records that [include] a "Signature Image"); Stringer I docket no. 77, appx. 118,
RFA 10, 11 (Defendants admit that individuals are not registered to vote in connection with their
interactions with DPS unless they submit an electronic image of their signature).
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alleged justification is not legitimate, there is no state interest that outweighs the burden imposed

on voters. Defendants fail to demonstrate a corresponding interest sufficiently weighty to justify

the limitation on voters' rights.

        Not oniy have Defendants failed to justify their actions, but they also acknowledge that

permitting simultaneous voter applications for individuals that renew or change their driver's

license online would be technologically very feasible and the cost would be minimal.          See

Stringer I docket no. 77, appx. 45-46, deposition of K. Ingram at 184:19-185:2 (it's "technically

possible" and "I don't think it would cost a lot of money"), 186:15-16 ("I'm not contesting the

logistics of it"); Stringer I docket no. 77, appx. 90, deposition of J. Crawford (from an IT

perspective, DLS is currently capable of sending the voter data and electronic signature to SOS);

see also   Stringer I docket no. 94-13, deposition of E. Hersh at 110:6-10 (it would be a "massive

cost savings"); 111:10-13 (the savings would be statewide); Stringer I report of E. Hersh at pp. 6,

12-15 (the technology clearly exists for state motor vehicle authorities that allow online

transactions). In fact, the undisputed testimony reflects that changing the online process to

include simultaneous voter registration applications would very likely lead to greater efficiency

for the State and increased voter registration for Texans. See Stringer I docket no. 94-13,

deposition of E. Hersh at 114:8-10; 114:24-115:14 (having people filling out information by

hand and then having state employees key that information in electronically leads to more errors);

Stringer I report of E. Hersh at p. 4 (in   11   of the 38 states with online registration, the policy was

adopted without any legislation, but simply as a technological upgrade to an existing

governmental function); Stringer I docket no. 85, appx. 25 (potential number of motor voters

affected in average week and month). Even assuming the State had legitimate interests, which it

has not shown,   if the State also has open to it a less drastic way of satisfying those interests it


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may not choose a scheme that restricts the right to vote. Anderson, 460 U.S. at 806.

        Based on the facts before the Court, there is a substantial likelihood that Plaintiffs will

succeed on the merits of their NVRA and Equal Protection claims.

                                                     VI.

                                 Substantial threat of irreparable injury

        It is undisputed that the individual plaintiffs were not simultaneously registered to vote at

the time of their online transactions with DPS, a designated voter registration agency. It is

undisputed that they remained unregistered to vote at the time this suit was filed, and they were

only registered prior to the primary election as a result of court order. It is undisputed that as a

result of Mr. Stringer's move to a new residence on August 15, 2020, he is again unregistered to

vote in the precinct in which he resides. Mr. Stringer's declarations and deposition testimony,

which are uncontested, demonstrate a substantial risk that Mr. Stringer will use the online DPS

System prior to the October 5 voter registration deadline to change the address on his driver's

license and update his voter registration. By Defendants' own admissions, their system does not

provide simultaneous voter registration, and their failure to change the system to come into

compliance unequivocally demonstrates a substantial risk that Mr. Stringer will be injured by his

inability to simultaneously update his voter registration when he uses the DPS System to change

the address on his driver's license. Mr. Stringer will remain unregistered to vote after using the

DPS System, and he will remain unregistered after the October 5 voter registration deadline,

which will result in disenfranchisement in the November 3 general election. This threatened

future injury   lack of simultaneous voter registration as a result of Defendants' unlawful process

and resulting disenfranchisement        more than satisfies the standing necessary for preliminary

injunctive relief See Stringer   v.   Whitley, 942 F.3d at 720 ("plaintiffs seeking injunctive   [ ]   relief



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can satisfy the redressability requirement only by demonstrating a continuing injury or threatened

future injury."). Mr. Stringer's threatened future injury will be (1) potentially suffered by him,

not someone else; (2) "concrete and particularized," not abstract; and (3) "actual or imminent,

not 'conjectural' or 'hypothetical.' "Id. at 720-21. With the deadline for voter registration on

October 5, and the general election less than thirty days thereafter, there is a substantial risk that

Mr. Stringer will be disenfranchised if he is not registered to vote; thus, the threatened future

injury is indisputably "imminent." Moreover, Mr. Stringer's future threatened injury is "fairly

traceable" to Defendants' continued failure to comply with the NVRA and the unjustified burden

on Mr. Stringer's statutory and constitutional rights.

         The future injury        disenfranchisement      is irreparable, The right to vote is a fundamental

right, and the deprivation of such right is something Mr. Stringer "will never be able to recover."

Stringer     v.   Whitley, 942 F.3d at 726. (Ho, J., concurring). But the injury that will occur between

now and October 5, the voter registration deadline, is still redressable with immediate injunctive

relief. Mr. Stringer has already been injured twice and he should not be forced to wait and suffer

a third constitutional deprivation when it can be avoided by granting temporary injunctive relief.

Texas   v.   US., 809 F.3d at 173 n. 137 (citing United States      v.   Emerson, 270 F.3d 203, 262 (5th

Cir. 200 1)).

                                                       VII.

                                      Balance of harm and public interest

         The harm to Mr. Stringer          the inability to register to vote pursuant to the NVRA and

being disenfranchised as a result          clearly outweighs the minimal burden that will be placed on



         47As     Judge Ho warned, "[a]s citizens, we can hope it is a deprivation they will not experience
again.. .".). Defendants failed to heed Judge Ho's warning and it is happening again. At some point a
known violation must be addressed.

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Defendants by simply being ordered to comply with the NVRA, a federal law that has been in

existence since 1993. Defendants have been on notice of their continuous violation of the NVRA

since at least 2016 (the commencement of Stringer I), yet Defendants' practices have remained

unchanged. The public clearly has a paramount interest in removing voter registration barriers

and having procedures that encourage rather than discourage voter registration. Defendants have

offered no factual or legal argument that would justify denying the simultaneous voter

registration to which Mr. Stringer is legally entitled. As Defendants have admitted, there are no

technological barriers to compliance and corrective measures would not be costly. Uncontested

expert testimony shows that a compliant DPS system would very likely lead to great efficiency,

less human error, a massive saving in costs, and increased voter registration.

                                                VIII.

                                 Injunctive relief is appropriate

       Since 2016, and every time that injunctive relief has been considered, defense counsel has

argued that compliance with the NVRA would take too long for the time frame in question

even though the time frame has been different every time. At this juncture, the evidence does not

support such representations.

       When permanent injunctive relief was being considered in Stringer I, Defendants alleged

that corrective measures would take 90 days to implement. However, when this lawsuit was

initiated, and it was apparent nothing had changed, the Court ordered the parties to meet and

confer with persons who understand the technology and then conduct discovery on the feasability

and time frame for implementation of corrective measures. The Court also ordered that

Defendants track, retain, and preserve the following information: (1) since November 2016, the

total number of persons who renewed or updated their driver's license online, answered "yes" to



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the voter registration/application question or indicated that they wanted to register to vote or

update their voter registration as part of the same transaction, and were not simultaneously

permitted to register to vote or update their voter registration; and (2) since November 2016, the

number of persons who renewed or updated their driver's license online, answered "yes" to the

voter registration/application question or indicated that they wanted to register to vote or update

their voter registration as part of the same transaction, were not simultaneously registered to vote

or their voter registration was not updated, and are still not registered to vote and/or their voter

registration has not been updated as a result." Docket nos. 31, 47. Defendant began capturing

and retaining such data on or about February 14, 2020.48 DPS also planned to begin accepting

online voter registration information from the online portal, processing the information into the

Driver's License System database, updating the individuals' driver's license records with that

information, and transmitting the data to SOS on May 17, 2020. DPS worked with SOS on

developing the format and transmission process for the voter registration data it will be sending,

and SOS approved the plans.5° This information will be transmitted to SOS in precisely the same

format and layout that voter registration information is already sent from DPS to SOS for in-

person and by-mail driver's license transactions, and will only include information for

individuals who answer "yes" to the online voter registration application        question.51   These files

will include the electronic signature image for each DPS customer in the same format and




       48Docket no. 69, appx. 19, deposition of S. Gipson, at 67:19-21.

       49Docket no. 69, appx. 17-18, 21-22, deposition of S. Gipson, at 40:22-41:6; 70:23-71:11.

       50Docket no. 69, appx. 22-23, deposition of S. Gipson, at 71:12-72:8.

       51Docket no. 69, appx. 12-14, deposition   of S. Gipson, at 27:2-29:16.


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process those images are sent for in-person and by-mail transactions.52 The files also have fields

for including answers to additional questions that are asked on paper voter registration forms

(such as whether the individual would like to serve as an election judge), but the fields will

presently be left blank pending further orders.53 The only changes needed by DPS in order to

finish a complete systemic fix are to implement simple front-end changes to the website to

include additional language mirroring a paper voter registration application. This includes adding

a question about serving as an election judge, what type of voter registration it is (a new

registration or an update), and language, including attestation language, to make clear that the

applicant is applying to register to         vote.54   Most of these changes have already been approved and

mocked up and should only take one to two weeks to implement if and when directed to do                          so.55



DPS is waiting further direction before proceedings with these changes.56 Even if the front-end

changes are not already entirely ready to roll out, these types of changes would take two or at

most three weeks to implement.57

       The evidence now suggests that the cost to SOS to begin processing such data is

negligible or non-existent.58 This is because SOS already receives nightly files from DPS that

include the relevant information for processing a voter registration application for in-person DPS




       52Docket no.   69,   appx.   14,   deposition of S. Gipson, at 29:18-24.

       53Docket no.   69,   appx.   15-17,   deposition of S. Gipson, at 38:19-40:21.

       54Docket no.   69,   appx    15-17, 30-32,      deposition of S. Gipson, at 38:19-40:21;   93:21-95:5.


       55Docket no. 69, appx.       24,   deposition of G. Gipson, at   74:1-9.


       56Docket no.   69,   appx.   31,   deposition of S. Gipson, at   94:2-8.


       57Docket no.   69,   appx.   25,   deposition of S. Gipson, at   79:1-5.


       58Docket no.   69,   appx.   44-45, 53-54,      deposition of K. Ingram, at   71:25-72:3; 118:2-119:20.
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transactions, and when DPS has implemented the changes outlined herein, the information for

individuals transacting with DPS online will reach SOS in the same format and be

indistinguishable from in-person transactions. In fact, implementing a full fix to the online

driver's license portal would save money for the Secretary of State. As a result of this process

that has already been put into place          which the Court commends            the State would need

approximately two weeks to complete the process and provide a fully simultaneous, non-

duplicative voter registration application to online driver's license customers. This updated

system would be the simplest and least burdensome form of relief, address the violations asserted

herein, and provide a remedy for the imminent, irreparable harm to Mr. Stringer.

                                                         Ix.

                                                    Conclusion

        DPS encourages Texans to use its online services to renew their driver's license and

change their address because it is easier and more            convenient.59   It cannot, at the same time, deny

simultaneous voter registration applications when those online services are used. DPS is legally

obligated, as a designated voter registration agency under the NVRA, to permit a simultaneous

voter registration application with every transaction. Defendants are violating § § 20503 (a)( 1);

20504(a),(c),(d), and (e); 20506(4)(A)(iii), and (d); and 20507(a)(l)(A) of the NYRA and their

excuses for noncompliance are not supported by the facts or the law. Plaintiffs are also being

denied equal protection under the law. Although the Court does not reach the issue of standing as

to each plaintiff and intervenor-plaintiff, only one plaintiff must have Article III standing for the

Court to consider injunctive relief. Mr. Stringer has shown he has standing to seek preliminary

injunctive relief and he is entitled to the relief being sought herein.



        59Stringer I docket no.   94-9,   deposition of E. Hutchins, at 38:18-23;   39:12-19.


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        It is therefore ORDERED that Plaintiffs' Motion for Preliminary Injunction (Docket no.

5) is GRANTED. Defendants are ORDERED to immediately take all remaining steps necessary

to come into compliance with the NVRA and the U.S. Constitution and establish a DPS System

that treats each online driver's license renewal or change-of-address application as a

simultaneous application for voter registration. Defendants must complete this process and the

DPS system must be fully operable for public use on or before September 23, 2020. Mr. Stringer

must be able to use the online DPS System to change the address on his driver's license and

simultaneously update his voter registration no later than September 30, 2020 to ensure that his

voter registration information is transmitted to the Secretary of State and he is registered in a

timely manner. See 52 U.S.C. § 20504(e)(l),(2). The Secretary of State must file an advisory

with this Court no later than October 2, 2020 confirming that it has fully complied with the

Court's order and that Mr. Stringer has been registered to vote through the updated DPS System.

       SIGNED this 28th day of August, 2020.


                                                      ORLANDO L. GARCIA
                                                      CHIEF U.S. DISTRICT JUDGE




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